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                         EXHIBIT A
                                      Case 1:09-cv-00597-LMB-TCB Document 78-1 Filed 12/10/09 Page 2 of 49 PageID# 1193



                                    Intersections Inc. and Net Enforcers, Inc. v. Joseph C. Loomis and Jenni M. Loomis, Case No. 1:09-CV-597 (LMB/TCB)
                                                              Privilege Log of Plaintiffs Intersections Inc. and Net Enforcers, Inc.


Entry
           Bates No.        Date              From                          To                         Copied To                                  Subject                                 Privilege
 No.
                                                                                                                           Email seeking legal advice concerning Non-
1       INTX137444     4/3/2007    John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           Disclosure Agreement

                                                                                                                           Email seeking legal advice concerning attached
2                      7/16/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           draft letter of intent

3                      7/6/2007                                                                                            Attached draft letter of intent                         Attorney-Client

                                                                                                                           Email seeking legal advice concerning attached
4                      7/24/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           draft letter of intent
5                      7/24/2007                                                                                           Attached draft letter of intent                         Attorney-Client
                                                                                                                           Email chain seeking and providing legal advice
6                      7/24/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           concerning attached draft letter of intent
7                      7/24/2007                                                                                           Attached draft letter of intent                         Attorney-Client
                                                                                                                           Email seeking legal advice concerning attached
8                      7/24/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           draft letter of intent
9                      7/24/2007                                                                                           Attached draft letter of intent                         Attorney-Client
                                                                                                                           Email chain seeking and providing legal advice
10                     7/24/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           concerning attached draft letter of intent
11                     7/24/2007                                                                                           Attached draft letter of intent                         Attorney-Client
                                                                                                                           Email seeking legal advice concerning draft letter of
12      INTX137430     7/27/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           intent
                                                                                                                           Email seeking legal advice concerning due
13      INTX137426     8/7/2007    John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           diligence checklist
                                                                                                                           Email providing legal advice concerning due
14                     8/12/2007   Neal Dittersdorf          John Scanlon                                                                                                          Attorney-Client
                                                                                                                           diligence requests
                                                                                                                           Email seeking legal advice concerning due
15      INTX138868     8/16/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           diligence
                                                                                                                           Email chain seeking and providing legal advice
16      INTX140933     8/16/2007   John Scanlon              Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                           concerning letter of intent
                                                                                                                           Email providing legal advice concerning due
17                     8/24/2007   Wendy Weinberger          John Scanlon                   Neal Dittersdorf                                                                       Attorney-Client
                                                                                                                           diligence




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Entry
           Bates No.        Date              From                      To                            Copied To                         Subject                               Privilege
 No.
                                                                                                                  Email providing legal advice concerning due
18                     8/27/2007   Neal Dittersdorf      John Scanlon                      Wendy Weinberger                                                            Attorney-Client
                                                                                                                  diligence
                                                         Neal Dittersdorf; Wendy                                  Email seeking legal advice concerning review of
19      INTX138444     9/6/2007    John Scanlon                                                                                                                        Attorney-Client
                                                         Weinberger; A.J. Zottola                                 agreement
                                                                                                                  Email chain seeking legal advice concerning
20                     9/11/2007   John Scanlon          Madalyn Behneman                  Neal Dittersdorf                                                            Attorney-Client
                                                                                                                  purchase agreement
                                                         John Scanlon; Madalyn                                    Email chain seeking and providing legal advice
21                     9/11/2007   Neal Dittersdorf                                                                                                                    Attorney-Client
                                                         Behneman                                                 concerning working capital adjustment
                                                                                                                  Email chain seeking, providing, and relaying legal
22                     9/13/2007   Madalyn Behneman      Tracy Ward                                                                                                    Attorney-Client
                                                                                                                  advice concerning acquisition negotiations
                                                         Neal Dittersdorf; Madalyn                                Email chain seeking, providing, and relaying legal
23                     9/13/2007   John Scanlon                                                                                                                        Attorney-Client
                                                         Behneman                                                 advice concerning purchase agreement
                                                         Neal Dittersdorf; Madalyn                                Email chain seeking and providing legal advice
24                     9/13/2007   John Scanlon                                            Joseph C. Schmelter                                                         Attorney-Client
                                                         Behneman                                                 concerning purchase agreement
                                                                                                                  Email chain seeking and providing legal advice
25                     9/13/2007   Michelle Tutt         Neal Dittersdorf; John Scanlon    John A. Wilhelm                                                             Attorney-Client
                                                                                                                  concerning due diligence
                                                                                                                  Email chain seeking and providing legal advice
26                     9/13/2007   Michelle Tutt         Neal Dittersdorf                  John Scanlon                                                                Attorney-Client
                                                                                                                  concerning due diligence
                                                                                                                  Email chain seeking and providing legal advice
27                     9/13/2007   John Scanlon          Michelle Tutt; Neal Dittersdorf                                                                               Attorney-Client
                                                                                                                  concerning due diligence
                                                                                                                  Email chain seeking and providing legal advice
28                     9/14/2007   Susan Edlavitch       John Scanlon                      Schmelter, Joseph C.                                                        Attorney-Client
                                                                                                                  concerning BIG tax
                                                         Joseph C. Schmelter; John                                Email chain seeking and providing legal advice
29                     9/17/2007   Susan Edlavitch                                         James P. Dvorak, Jr.                                                        Attorney-Client
                                                         Scanlon; Neal Dittersdorf                                concerning BIG tax
                                                         Susan Edlavitch; Joseph C.                               Email chain seeking and providing legal advice
30                     9/17/2007   John Scanlon                                            James P. Dvorak, Jr.                                                        Attorney-Client
                                                         Schmelter; Neal Dittersdorf                              concerning BIG tax
                                                         Susan Edlavitch; Joseph C.                               Email chain seeking and providing legal advice
31                     9/17/2007   John Scanlon                                            James P. Dvorak, Jr.                                                        Attorney-Client
                                                         Schmelter; Neal Dittersdorf                              concerning BIG tax
                                                         James P. Dvorak, Jr.; Armand J.                          Email seeking legal advice concerning due
32      INTX138862     9/17/2007   Neal Dittersdorf                                      John Scanlon                                                                  Attorney-Client
                                                         Zottola, III; Wendy Weinberger                           diligence
                                                         Joseph C. Schmelter; John                                Email chain seeking and providing legal advice
33                     9/17/2007   Susan Edlavitch                                         James P. Dvorak, Jr.                                                        Attorney-Client
                                                         Scanlon; Neal Dittersdorf                                concerning BIG tax
                                                         Susan Edlavitch; Joseph C.                               Email chain seeking and providing legal advice
34                     9/17/2007   John Scanlon                                            James P. Dvorak, Jr.                                                        Attorney-Client
                                                         Schmelter; Neal Dittersdorf                              concerning BIG tax
35                     9/21/2007   Joseph C. Schmelter   Neal Dittersdorf; John Scanlon    James P. Dvorak, Jr.   Email providing legal advice concerning BIG tax      Attorney-Client
                                                                                                                  Email chain seeking and providing legal advice
36      INTX140299     9/21/2007   John Scanlon          Neal Dittersdorf                                                                                              Attorney-Client
                                                                                                                  concerning due diligence




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Entry
           Bates No.        Date              From                       To                            Copied To                               Subject                               Privilege
 No.
                                                                                                                          Email chain seeking and providing legal advice
                                                          Neal Dittersdorf; Joseph C.
37                     9/24/2007   John Scanlon                                                                           concerning attached draft asset purchase            Attorney-Client
                                                          Schmelter
                                                                                                                          agreement
38                     9/24/2007                                                                                          Attached draft asset purchase agreement             Attorney-Client
                                                                                                                          Email chain seeking and providing legal advice
                                                          Neal Dittersdorf; Joseph C.
39                     9/24/2007   John Scanlon                                                                           concerning attached draft asset purchase            Attorney-Client
                                                          Schmelter
                                                                                                                          agreement
40                     9/24/2007                                                                                          Attached draft asset purchase agreement             Attorney-Client
                                                                                                                          Email chain seeking and providing legal advice
41                     9/25/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                Attorney-Client
                                                                                                                          concerning draft asset purchase agreement

                                                                                            Neal Dittersdorf; Joseph C.   Email providing legal advice concerning draft asset
42                     9/25/2007   James P. Dvorak, Jr.   John Scanlon                                                                                                        Attorney-Client
                                                                                            Schmelter                     purchase agreement


                                                          Neal Dittersdorf; Joseph C.                                     Email chain seeking and providing legal advice
43                     9/26/2007   John Scanlon                                                                                                                               Attorney-Client
                                                          Schmelter; James P. Dvorak, Jr.                                 concerning employment agreement
                                                                                                                          Email chain seeking and providing legal advice
44                     9/28/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning acquisition negotiations
                                                                                                                          Email providing and relaying legal advice
45                     9/29/2007   Neal Dittersdorf       John Scanlon                                                                                                        Attorney-Client
                                                                                                                          concerning due diligence
                                                                                                                          Email chain seeking and providing legal advice
46                     10/2/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning legal letter process
                                                                                                                          Email chain seeking and providing legal advice
47                     10/5/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning supplemental due diligence requests
                                                                                                                          Email chain seeking and providing legal advice
48                     10/5/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning supplemental due diligence requests
                                                                                                                          Email chain seeking and providing legal advice
49                     10/5/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning supplemental due diligence requests
                                                                                                                          Email providing legal advice concerning due
50      INTX136717     10/7/2007   Neal Dittersdorf       John Scanlon                                                                                                        Attorney-Client
                                                                                                                          diligence supplemental requests
                                                                                                                          Email chain seeking and providing legal advice
51                     10/7/2007   John Scanlon           Neal Dittersdorf                                                                                                    Attorney-Client
                                                                                                                          concerning employment agreement
                                                                                                                          Email providing legal advice concerning due
52      INTX138807     10/7/2007   Neal Dittersdorf       John Scanlon                                                                                                        Attorney-Client
                                                                                                                          diligence supplemental requests
                                                          Madalyn Behneman; Michael                                       Email providing legal advice concerning stock
53                     10/8/2007   Neal Dittersdorf                                         Neal Dittersdorf                                                                  Attorney-Client
                                                          Stanfield; John Scanlon                                         purchase agreement




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Entry
           Bates No.        Date               From                           To                  Copied To                         Subject                               Privilege
 No.
                                                                                                              Email chain seeking, providing, and relaying legal
54                     10/9/2007    Madalyn Behneman           Tracy Ward                                     advice concerning drafting of stock purchase         Attorney-Client
                                                                                                              agreement and employment agreement

                                                                                                              Email chain seeking, providing, and relaying legal
55                     10/9/2007    Madalyn Behneman           Tracy Ward                                     advice concerning drafting of stock purchase         Attorney-Client
                                                                                                              agreement and employment agreement

                                                                                                              Email chain seeking, providing, and relaying legal
56                     10/9/2007    Madalyn Behneman           Tracy Ward                                     advice concerning drafting of stock purchase         Attorney-Client
                                                                                                              agreement and employment agreement
                                                                                                              Email chain providing and relaying legal advice
                                                               Michael Stanfield; Madalyn
57                     10/9/2007    John Scanlon                                                              concerning stock purchase agreement and              Attorney-Client
                                                               Behneman; Neal Dittersdorf
                                                                                                              employment agreement
                                                                                                              Email chain relaying, seeking, and providing legal
                                                               Michael Stanfield; John Scanlon;
58                     10/9/2007    Neal Dittersdorf                                                          advice concerning Joe Loomis' employment             Attorney-Client
                                                               Madalyn Behneman
                                                                                                              agreement
                                                                                                              Email chain relaying, seeking, and providing legal
59                     10/9/2007    John Scanlon               Madalyn Behneman                               advice concerning Joe Loomis' employment             Attorney-Client
                                                                                                              agreement
                                                                                                              Email providing legal advice concerning stock
60                     10/9/2007    Neal Dittersdorf           John Scanlon                                                                                        Attorney-Client
                                                                                                              purchase agreement
                                                               Michael Stanfield; John Scanlon;               Email chain seeking and providing legal advice
61                     10/9/2007    Neal Dittersdorf                                                                                                               Attorney-Client
                                                               Madalyn Behneman                               concerning draft agreements
                                                                                                              Email chain seeking, providing, and relaying legal
62                     10/9/2007    John Scanlon               Madalyn Behneman                                                                                    Attorney-Client
                                                                                                              advice concerning draft agreements
63                     10/9/2007    Jeff Ayres; Jimmy Dvorak   Neal Dittersdorf                               Memorandum concerning legal letter process           Attorney-Client
                                                                                                              Email chain seeking, providing, and relaying legal
64                     10/9/2007    Madalyn Behneman           Tracy Ward                                                                                          Attorney-Client
                                                                                                              advice concerning stock purchase agreement
                                                               Neal Dittersdorf; Madalyn                      Email chain seeking and providing legal advice
65                     10/11/2007   John Scanlon                                                                                                                   Attorney-Client
                                                               Behneman; Michelle Tutt                        concerning stock options
                                                               Neal Dittersdorf; Madalyn                      Email chain seeking and providing legal advice
66                     10/11/2007   John Scanlon                                                                                                                   Attorney-Client
                                                               Behneman; Michelle Tutt                        concerning stock options
                                                                                                              Email seeking legal advice concerning legal letter
67      INTX136673     10/14/2007   John Scanlon               Neal Dittersdorf                                                                                    Attorney-Client
                                                                                                              process
                                                                                                              Email seeking legal advice concerning
68      INTX138676     10/14/2007   John Scanlon               Neal Dittersdorf                                                                                    Attorney-Client
                                                                                                              communications with Mr. Loomis




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Entry
           Bates No.        Date               From                       To                           Copied To                            Subject                               Privilege
 No.
                                                                                                                      Email chain seeking and providing legal advice
69      INTX139791     10/14/2007   Neal Dittersdorf       John Scanlon                                                                                                    Attorney-Client
                                                                                                                      concerning legal letter process
                                                                                                                      Email seeking legal advice concerning legal letter
70                     10/15/2007   John Scanlon           Neal Dittersdorf                                                                                                Attorney-Client
                                                                                                                      process
                                                                                                                      Email providing legal advice concerning draft
71                     10/15/2007   James P. Dvorak, Jr.   John Scanlon; Neal Dittersdorf   Joseph C. Schmelter                                                            Attorney-Client
                                                                                                                      agreements
                                                           James P. Dvorak, Jr.; Neal                                 Email chain seeking and providing legal advice
72                     10/16/2007   John Scanlon                                          Joseph C. Schmelter                                                              Attorney-Client
                                                           Dittersdorf                                                concerning review of draft documents
                                                           John Scanlon; James P. Dvorak,                             Email chain seeking and providing legal advice
73                     10/16/2007   Neal Dittersdorf                                      Joseph C. Schmelter                                                              Attorney-Client
                                                           Jr.                                                        concerning draft agreements
                                                           James P. Dvorak, Jr.; Neal                                 Email chain seeking and providing legal advice
74                     10/16/2007   John Scanlon                                          Joseph C. Schmelter                                                              Attorney-Client
                                                           Dittersdorf                                                concerning draft agreements
                                                                                                                      Email providing legal advice concerning draft
75                     10/16/2007   James P. Dvorak, Jr.   John Scanlon; Neal Dittersdorf   Joseph C. Schmelter                                                            Attorney-Client
                                                                                                                      agreements
                                                                                                                      Email providing legal advice concerning draft
76                     10/16/2007   James P. Dvorak, Jr.   John Scanlon; Neal Dittersdorf   Joseph C. Schmelter                                                            Attorney-Client
                                                                                                                      agreements
                                                                                                                      Email seeking legal advice concerning attached
77                     10/16/2007   John Scanlon           Neal Dittersdorf                                                                                                Attorney-Client
                                                                                                                      draft Bank of America waiver
78                     10/16/2007                                                                                     Attached draft Bank of America waiver                Attorney-Client
79                     12/8/2006                                                                                      Attached draft Bank of America waiver                Attorney-Client
                                                                                                                      Email chain seeking and providing legal advice
80                     10/17/2007   John Scanlon           Neal Dittersdorf                                                                                                Attorney-Client
                                                                                                                      concerning closing of acquisition
                                                                                                                      Email chain seeking and providing legal advice
81                     10/17/2007   John Scanlon           Neal Dittersdorf                 Madalyn Behneman                                                               Attorney-Client
                                                                                                                      concerning Bank of America waiver
                                                                                                                      Email seeking legal advice concerning review of
82      INTX138440     10/17/2007   John Scanlon           Neal Dittersdorf                                                                                                Attorney-Client
                                                                                                                      draft agreement
                                                                                            Michael Stanfield; Neal   Email seeking legal advice concerning attached
83                     10/17/2007   John Scanlon           Tammy Gregory                                                                                                   Attorney-Client
                                                                                            Dittersdorf               draft board materials
                                                                                                                      Attached draft board materials concerning NEI
84                     10/17/2007                                                                                                                                          Attorney-Client
                                                                                                                      acquisition
85                     10/17/2007                                                                                     Attached draft valuation                             Attorney-Client
86                     10/16/2007                                                                                     Attached draft strategic growth presentation         Attorney-Client
87                                                                                                                    Attached draft financial information                 Attorney-Client
88                                                                                                                    Attached draft financial information                 Attorney-Client
                                                                                                                      Email seeking legal advice concerning legal letter
89      INTX138691     10/18/2007   John Scanlon           Neal Dittersdorf                                                                                                Attorney-Client
                                                                                                                      process
                                                                                                                      Email chain seeking and providing legal advice
90      INTX140489     10/18/2007   John Scanlon           Neal Dittersdorf                 James P. Dvorak, Jr.                                                           Attorney-Client
                                                                                                                      concerning draft stock purchase agreement
                                                                                                                      Email chain seeking and providing legal advice
91                     10/21/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                   Attorney-Client
                                                                                                                      concerning draft stock purchase agreement



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Entry
           Bates No.        Date               From                       To                           Copied To                                   Subject                                Privilege
 No.
                                                           John Scanlon; James P. Dvorak,                                    Email providing legal advice concerning draft stock
92                     10/21/2007   Neal Dittersdorf                                                                                                                               Attorney-Client
                                                           Jr.                                                               purchase agreement
                                                                                                                             Email chain seeking and providing legal advice
93      INTX138774     10/22/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                           Attorney-Client
                                                                                                                             concerning employment agreement
                                                           John Scanlon; James P. Dvorak,                                    Email chain seeking and providing legal advice
94      INTX140097     10/22/2007   Neal Dittersdorf                                                                                                                               Attorney-Client
                                                           Jr.                                                               concerning draft employment agreement
                                                           James P. Dvorak, Jr.; Neal                                        Email chain seeking and providing legal advice
95      INTX140100     10/22/2007   John Scanlon                                                                                                                                   Attorney-Client
                                                           Dittersdorf                                                       concerning draft employment agreement
                                                                                                                             Email providing legal advice concerning draft stock
96                     10/22/2007   James P. Dvorak, Jr.   John Scanlon; Neal Dittersdorf                                                                                          Attorney-Client
                                                                                                                             purchase agreement
                                                                                                                             Email providing legal advice concerning schedules
97      INTX138927     10/23/2007   Neal Dittersdorf       John Scanlon                                                                                                            Attorney-Client
                                                                                                                             to stock purchase agreement
                                                                                                                             Email seeking legal advice concerning
98      INTX138939     10/23/2007   John Scanlon           Neal Dittersdorf                                                                                                        Attorney-Client
                                                                                                                             communication with Mr. Loomis
                                                                                                                             Email chain seeking and providing legal advice
99      INTX140679     10/23/2007   John Scanlon           James P. Dvorak, Jr.             Neal Dittersdorf                                                                  Attorney-Client
                                                                                                                             concerning schedules to stock purchase agreement

                                                                                                                             Email chain seeking and providing legal advice
100     INTX140690     10/23/2007   John Scanlon           Neal Dittersdorf                                                                                                   Attorney-Client
                                                                                                                             concerning schedules to stock purchase agreement
                                                                                                                           Email providing legal advice concerning draft stock
101                    10/24/2007   James P. Dvorak, Jr.   John Scanlon; Neal Dittersdorf                                  purchase agreement and draft employment                 Attorney-Client
                                                                                                                           agreement
                                                                                            John Scanlon; James P. Dvorak, Email chain providing and relaying legal advice
102                    10/24/2007   Neal Dittersdorf       Madalyn Behneman                                                                                                        Attorney-Client
                                                                                            Jr.                            concerning stock purchase agreement
                                                                                                                           Email chain providing and relaying legal advice
                                                                                            John Scanlon; James P. Dvorak,
103                    10/24/2007   Neal Dittersdorf       Madalyn Behneman                                                concerning draft stock purchase agreement and           Attorney-Client
                                                                                            Jr.
                                                                                                                           draft employment agreement
                                                                                                                           Email chain providing legal advice concerning draft
104                    10/25/2007   James P. Dvorak, Jr.   John Scanlon                                                    stock purchase agreement and draft employment           Attorney-Client
                                                                                                                           agreement
                                                                                                                           Email chain seeking and providing legal advice
105                    10/25/2007   John Scanlon           James P. Dvorak, Jr.                                            concerning stock purchase agreement and                 Attorney-Client
                                                                                                                           employment agreement
                                                                                                                           Email chain seeking and providing legal advice
106                    10/25/2007   John Scanlon           James P. Dvorak, Jr.                                            concerning stock purchase agreement and                 Attorney-Client
                                                                                                                           employment agreement
                                                                                                                           Email chain providing legal advice concerning draft
107                    10/25/2007   James P. Dvorak, Jr.   John Scanlon                                                    stock purchase agreement and draft employment           Attorney-Client
                                                                                                                           agreement



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Entry
           Bates No.        Date               From                       To                          Copied To                                   Subject                               Privilege
 No.
                                                                                                                            Email chain providing and relaying legal advice
108     INTX138609     10/25/2007   Neal Dittersdorf       John Scanlon                                                                                                          Attorney-Client
                                                                                                                            concerning closing checklist
                                                                                                                            Email chain seeking and providing legal advice
109     INTX139940     10/25/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                  Attorney-Client
                                                                                                                            concerning review of draft documents
                                                                                                                            Email chain seeking, providing, and relaying legal
110     INTX059318     10/25/2007   Madalyn Behneman       Tracy Ward                                                       advice concerning attached draft stock purchase      Attorney-Client
                                                                                                                            agreement and draft employment agreement
111     INTX059322     10/24/2007                                                                                          Attached draft stock purchase agreement               Attorney-Client
                                                           James P. Dvorak, Jr.; Neal                                      Email seeking legal advice concerning disclosure
112     INTX138899     10/30/2007   John Scanlon                                                                                                                                 Attorney-Client
                                                           Dittersdorf                                                     schedules
                                                                                                                           Email chain seeking and providing legal advice
113                    10/31/2007   John Scanlon           James P. Dvorak, Jr.             Neal Dittersdorf                                                                     Attorney-Client
                                                                                                                           concerning earnout calculation
                                                           James P. Dvorak, Jr.; John                                      Email chain seeking and providing legal advice
114     INTX138505     10/31/2007   Neal Dittersdorf                                                                                                                             Attorney-Client
                                                           Scanlon                                                         concerning closing checklist
                                                                                                                           Email providing legal advice concerning disclosure
115                    10/31/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                         Attorney-Client
                                                                                                                           schedules
                                                                                                                           Email chain seeking and providing legal advice
116     INTX140497     10/31/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft agreements
                                                                                                                           Email seeking and providing legal advice
117     INTX140499     10/31/2007   Neal Dittersdorf       James P. Dvorak, Jr.             John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft agreements
                                                                                                                           Email chain seeking and providing legal advice
118                    10/31/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft stock purchase agreement
                                                                                                                           Email chain seeking and providing legal advice
119                    10/31/2007   Neal Dittersdorf       James P. Dvorak, Jr.             John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft stock purchase agreement
                                                                                                                           Email chain seeking and providing legal advice
120                    10/31/2007   James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft stock purchase agreement
                                                                                                                           Email chain seeking and providing legal advice
121                    10/31/2007   Neal Dittersdorf       James P. Dvorak, Jr.             John Scanlon                                                                         Attorney-Client
                                                                                                                           concerning draft stock purchase agreement
                                                                                            John Scanlon; James P. Dvorak, Email providing legal advice concerning Cohen
122     INTX138477     11/1/2007    Neal Dittersdorf       Michael Stanfield                                                                                                     Attorney-Client
                                                                                            Jr.                            release
                                                                                                                           Email chain seeking and providing legal advice
123                    11/1/2007    James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon; John A. Wilhelm                                                        Attorney-Client
                                                                                                                           concerning disclosure schedules
                                                           John Scanlon; Michael Stanfield;                                Email providing legal advice concerning exhibits
124                    11/1/2007    Neal Dittersdorf                                                                                                                             Attorney-Client
                                                           Eric A. Miller                                                  and schedules to stock purchase agreement
                                                                                                                           Email chain seeking and providing legal advice
125                    11/1/2007    James P. Dvorak, Jr.   Neal Dittersdorf                 John Scanlon; John A. Wilhelm                                                        Attorney-Client
                                                                                                                           concerning draft stock purchase agreement
                                                                                                                           Email chain seeking and providing legal advice
126                    11/1/2007    Neal Dittersdorf       James P. Dvorak, Jr.             John Scanlon; John A. Wilhelm                                                        Attorney-Client
                                                                                                                           concerning draft stock purchase agreement




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                                       Case 1:09-cv-00597-LMB-TCB Document 78-1 Filed 12/10/09 Page 9 of 49 PageID# 1200



Entry
           Bates No.        Date               From                        To                            Copied To                                  Subject                              Privilege
 No.
                                                                                                                               Email chain seeking and providing legal advice
127                    11/1/2007    James P. Dvorak, Jr.   Neal Dittersdorf                    John Scanlon; John A. Wilhelm                                                      Attorney-Client
                                                                                                                               concerning draft stock purchase agreement
                                                                                                                               Email chain seeking and providing legal advice
128                    11/1/2007    Neal Dittersdorf       James P. Dvorak, Jr.                John Scanlon; John A. Wilhelm                                                      Attorney-Client
                                                                                                                               concerning draft stock purchase agreement
                                                                                                                               Email chain seeking and providing legal advice
129                    11/1/2007    James P. Dvorak, Jr.   Neal Dittersdorf                    John Scanlon; John A. Wilhelm                                                      Attorney-Client
                                                                                                                               concerning draft stock purchase agreement
                                                                                                                               Email chain seeking and providing legal advice
130                    11/1/2007    Neal Dittersdorf       James P. Dvorak, Jr.                John Scanlon; John A. Wilhelm                                                      Attorney-Client
                                                                                                                               concerning draft stock purchase agreement
                                                                                                                               Email providing legal advice concerning draft
                                                           John Scanlon; Michael Stanfield;
131                    11/1/2007    Neal Dittersdorf                                                                           schedules and exhibits to stock purchase           Attorney-Client
                                                           Eric A. Miller
                                                                                                                               agreement
                                                                                                                               Email chain seeking and providing legal advice
132                    11/2/2007    John Scanlon           Neal Dittersdorf                                                                                                       Attorney-Client
                                                                                                                               concerning due diligence
                                                                                                                               Email chain seeking and providing legal advice
133                    11/2/2007    John Scanlon           Neal Dittersdorf                                                                                                       Attorney-Client
                                                                                                                               concerning due diligence
                                                           Neal Dittersdorf; Michael                                           Email chain seeking and providing legal advice
134                    11/2/2007    John Scanlon                                               James P. Dvorak, Jr.                                                               Attorney-Client
                                                           Stanfield                                                           concerning status of negotiations
                                                                                                                               Email chain seeking and providing legal advice
135     INTX140512     11/2/2007    John Scanlon           Neal Dittersdorf                    James P. Dvorak, Jr.                                                               Attorney-Client
                                                                                                                               concerning draft stock purchase agreement
                                                                                               John Scanlon; Madalyn           Email providing legal advice concerning attached
136                    11/7/2007    Neal Dittersdorf       Michael Stanfield; Eric A. Miller                                                                                      Attorney-Client
                                                                                               Behneman                        draft press release
137                    11/7/2007                                                                                               Attached draft press release                       Attorney-Client
138                    11/7/2007                                                                                               Attached draft press release                       Attorney-Client
                                                                                               Tammie Ettner; Tammy Gregory; Email providing legal advice concerning attached
139                    11/9/2007    Neal Dittersdorf       Michael Stanfield                                                                                                      Attorney-Client
                                                                                               John Scanlon; Eric A. Miller  draft press release
140                    11/9/2007                                                                                               Attached draft press release                       Attorney-Client
                                                                                                                               Email providing legal advice concerning closing
141                    11/12/2007   James P. Dvorak, Jr.   Neal Dittersdorf; John Scanlon                                                                                         Attorney-Client
                                                                                                                               checklist
                                                                                                                               Email chain seeking and providing legal advice
142                    11/19/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                   Attorney-Client
                                                                                                                               concerning closing balance sheet template
                                                                                                                               Email chain seeking and providing legal advice
143                    11/19/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                   Attorney-Client
                                                                                                                               concerning closing balance sheet template
                                                           Neal Dittersdorf; James P.                                          Email seeking legal advice concerning attached
144                    11/19/2007   John Scanlon                                                                                                                                  Attorney-Client
                                                           Dvorak, Jr.                                                         draft closing balance sheet template
145                    11/19/2007                                                                                              Attached draft closing balance sheet template      Attorney-Client
                                                           Madalyn Behneman; Neal                                              Email chain seeking legal advice concerning tax
146                    11/28/2007   John Scanlon                                               Tracy Ward                                                                         Attorney-Client
                                                           Dittersdorf                                                         filing




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Entry
           Bates No.        Date               From                        To                         Copied To                                 Subject                                 Privilege
 No.
                                                           Madalyn Behneman; Neal                                          Email chain seeking and providing legal advice
147                    11/28/2007   John Scanlon                                             Tammie Ettner                                                                       Attorney-Client
                                                           Dittersdorf; James P. Dvorak, Jr.                               concerning closing status

                                                           James P. Dvorak, Jr.; Neal                                      Email seeking legal advice concerning estimated
148     INTX138469     11/28/2007   John Scanlon                                                                                                                                 Attorney-Client
                                                           Dittersdorf; Madalyn Behneman                                   closing balance sheet
                                                                                                                           Email providing legal advice concerning
149                    11/28/2007   Neal Dittersdorf       Michelle Tutt                   John Scanlon                                                                          Attorney-Client
                                                                                                                           employment agreement
                                                           Madalyn Behneman; John                                          Email chain providing and relaying legal advice
150                    11/29/2007   Neal Dittersdorf                                       James P. Dvorak, Jr.                                                                  Attorney-Client
                                                           Scanlon                                                         concerning closing status
                                                           Neal Dittersdorf; Madalyn                                       Email chain seeking and providing legal advice
151                    11/29/2007   John Scanlon                                           James P. Dvorak, Jr.                                                                  Attorney-Client
                                                           Behneman                                                        concerning closing of acquisition
                                                                                                                           Email chain seeking and providing legal advice
152     INTX138453     11/29/2007   James P. Dvorak, Jr.   John Scanlon                    Neal Dittersdorf                                                                      Attorney-Client
                                                                                                                           concerning closing balance sheet
                                                           Madalyn Behneman; John                                          Email chain providing and relaying legal advice
153                    11/29/2007   Neal Dittersdorf                                       James P. Dvorak, Jr.                                                                  Attorney-Client
                                                           Scanlon                                                         concerning closing status
                                                                                                                           Email chain seeking and providing legal advice
154     INTX139339     11/29/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                  Attorney-Client
                                                                                                                           concerning closing balance sheet
                                                                                                                           Email chain seeking and providing legal advice
155     INTX139345     11/29/2007   John Scanlon           James P. Dvorak, Jr.                                                                                                  Attorney-Client
                                                                                                                           concerning closing balance sheet
                                                                                                                           Email providing legal advice concerning signing of
156                    11/30/2007   Neal Dittersdorf       Tammie Ettner                   John Scanlon                                                                          Attorney-Client
                                                                                                                           documents
                                                           Madalyn Behneman; John                                          Email providing legal advice concerning closing
157                    2/14/2008    Neal Dittersdorf                                                                                                                             Attorney-Client
                                                           Scanlon                                                         balance sheet
                                                           James P. Dvorak, Jr.; Neal                                      Email seeking legal advice concerning balance
158     INTX055804     2/28/2008    Madalyn Behneman                                       Joetta Kilby; Tracy Ward                                                              Attorney-Client
                                                           Dittersdorf; John Scanlon                                       sheet adjustment
                                                           Madalyn Behneman; James P.                                      Email seeking legal advice concerning closing
159                    2/28/2008    John Scanlon                                           Michael Stanfield                                                                     Attorney-Client
                                                           Dvorak, Jr.; Neal Dittersdorf                                   balance sheet
                                                                                           Tracy Ward; Joetta Kilby; James Email chain seeking legal advice concerning
160                    2/28/2008    Madalyn Behneman       John Scanlon                                                                                                          Attorney-Client
                                                                                           P. Dvorak, Jr.; Neal Dittersdorf attached draft closing balance sheet
161                    2/28/2008                                                                                           Attached draft closing balance sheet                  Attorney-Client
162                    12/5/2007                                                                                           Attached draft closing balance sheet                  Attorney-Client
                                                                                           Neal Dittersdorf; Madalyn       Email chain seeking and providing legal advice
163                    2/28/2008    James P. Dvorak, Jr.   John Scanlon                                                                                                          Attorney-Client
                                                                                           Behneman                        concerning attached draft closing balance sheet
164                    2/28/2008                                                                                           Attached draft closing balance sheet                  Attorney-Client
                                                           James P. Dvorak, Jr.; Madalyn                                   Email seeking legal advice concerning draft closing
165                    2/28/2008    John Scanlon                                           Neal Dittersdorf                                                                      Attorney-Client
                                                           Behneman                                                        balance sheet
166                    2/28/2008                                                                                           Attached draft closing balance sheet                  Attorney-Client




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Entry
           Bates No.        Date              From                    To                     Copied To                             Subject                             Privilege
 No.
                                                                                                              Email chain seeking legal advice concerning
167                    2/28/2008   Madalyn Behneman    Joetta Kilby; Tracy Ward                                                                                 Attorney-Client
                                                                                                              attached draft closing balance sheet
168                    2/28/2008                                                                              Attached draft closing balance sheet              Attorney-Client
                                                                                                              Email chain seeking and relaying legal advice
169                    2/28/2008   Madalyn Behneman    Joetta Kilby; Tracy Ward                                                                                 Attorney-Client
                                                                                                              concerning closing balance sheet
170                    2/28/2008                                                                              Attached draft closing balance sheet              Attorney-Client
                                                                                                              Email chain seeking legal advice concerning
171                    3/7/2008    Madalyn Behneman    Neal Dittersdorf            John Scanlon                                                                 Attorney-Client
                                                                                                              Closing balance sheet
                                                                                                              Email seeking legal advice concerning closing
172     INTX136708     3/13/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              balance sheet
                                                                                                              Email seeking legal advice concerning closing
173     INTX138763     3/13/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              balance sheet
                                                                                                              Email chain seeking and providing legal advice
174     INTX140075     3/13/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              concerning closing balance sheet
                                                                                                              Email chain seeking and providing legal advice
175                    4/21/2008   Neal Dittersdorf    John Scanlon                                                                                             Attorney-Client
                                                                                                              concerning legal letter process
                                                                                                              Email seeking legal advice concerning closing
176     INTX138801     5/28/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              balance sheet
                                                                                                              Email seeking legal advice concerning closing
177                    6/4/2008    John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              balance sheet
                                                                                                              Email chain seeking legal advice concerning tax
178     INTX059185     7/30/2008   Madalyn Behneman    Neal Dittersdorf            John Scanlon; Tracy Ward                                                     Attorney-Client
                                                                                                              issues
                                                                                                              Email chain seeking legal advice concerning tax
179     INTX060282     7/30/2008   Madalyn Behneman    Neal Dittersdorf            John Scanlon; Tracy Ward                                                     Attorney-Client
                                                                                                              issues
                                                       John Scanlon; Madalyn                                  Email chain seeking and providing legal advice
180     INTX054722     7/31/2008   Neal Dittersdorf                                                                                                             Attorney-Client
                                                       Behneman                                               concerning draft tax returns
                                                       Neal Dittersdorf; Madalyn                              Email chain seeking and providing legal advice
181     INTX054732     7/31/2008   John Scanlon                                                                                                                 Attorney-Client
                                                       Behneman                                               concerning draft tax returns
                                                       Madalyn Behneman; John                                 Email chain seeking and providing legal advice
182     INTX054746     7/31/2008   Neal Dittersdorf                                                                                                             Attorney-Client
                                                       Scanlon                                                concerning draft tax returns
                                                                                                              Email chain seeking and providing legal advice
183     INTX137931     7/31/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              concerning tax dispute
                                                       Neal Dittersdorf; Madalyn                              Email chain seeking and providing legal advice
184     INTX137941     7/31/2008   John Scanlon                                                                                                                 Attorney-Client
                                                       Behneman                                               concerning tax dispute
                                                                                                              Email chain seeking and providing legal advice
185     INTX137950     7/31/2008   John Scanlon        Neal Dittersdorf                                                                                         Attorney-Client
                                                                                                              concerning tax dispute
                                                                                                              Email providing legal advice concerning
                                                       John Scanlon; Madalyn
186                    8/2/2008    Neal Dittersdorf                                James P. Dvorak, Jr.       communications with Mr. Loomis regarding tax      Attorney-Client
                                                       Behneman
                                                                                                              disputes




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Entry
         Bates No.        Date               From                   To                      Copied To                         Subject                               Privilege
 No.
                                                                                                        Email chain seeking and providing legal advice
                                                     Neal Dittersdorf; Madalyn
187                  8/2/2008    John Scanlon                                    James P. Dvorak, Jr.   concerning communications with Mr. Loomis            Attorney-Client
                                                     Behneman
                                                                                                        regarding tax disputes
                                                                                                        Email chain seeking and providing legal advice
                                                     John Scanlon; Madalyn
188                  8/2/2008    Neal Dittersdorf                                James P. Dvorak, Jr.   concerning communications with Mr. Loomis            Attorney-Client
                                                     Behneman
                                                                                                        regarding tax disputes
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking and providing legal advice
189                  8/2/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           concerning draft tax returns
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking and providing legal advice
190                  8/2/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           concerning tax issues
                                                                                                        Email chain seeking and providing legal advice
                                                     Neal Dittersdorf; Madalyn
191                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.   concerning communications with Mr. Loomis            Attorney-Client
                                                     Behneman
                                                                                                        regarding tax disputes
                                                                                                        Email chain seeking and providing legal advice
                                                     John Scanlon; Madalyn
192                  8/4/2008    Neal Dittersdorf                                James P. Dvorak, Jr.   concerning communications with Mr. Loomis            Attorney-Client
                                                     Behneman
                                                                                                        regarding tax disputes
                                                                                                        Email chain seeking and providing legal advice
                                                     Madalyn Behneman; John
193                  8/4/2008    Neal Dittersdorf                                James P. Dvorak, Jr.   concerning communications with Mr. Loomis            Attorney-Client
                                                     Scanlon
                                                                                                        regarding tax disputes
                                                     Madalyn Behneman; Neal                             Email chain seeking, providing, and relaying legal
194                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Dittersdorf                                        advice concerning draft tax returns
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking, providing, and relaying legal
195                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           advice concerning draft tax returns
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking and providing legal advice
196                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           concerning draft tax returns
                                                     Madalyn Behneman; Neal                             Email chain seeking and providing legal advice
197                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Dittersdorf                                        concerning tax issues
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking and providing legal advice
198                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           concerning tax issues
                                                     Neal Dittersdorf; Madalyn                          Email chain seeking and providing legal advice
199                  8/4/2008    John Scanlon                                    James P. Dvorak, Jr.                                                        Attorney-Client
                                                     Behneman                                           concerning tax issues
                                                                                                        Email chain seeking and providing legal advice
200                  8/16/2008   Wendy Weinberger    Jason Wood                                                                                              Attorney-Client
                                                                                                        concerning Eli Lilly test purchases
                                                                                                        Email chain seeking and providing legal advice
201                  8/20/2008   Wendy Weinberger    Jason Wood                  Kevin Lefton                                                                Attorney-Client
                                                                                                        concerning Eli Lilly test purchases
                                                                                                        Email relaying legal advice concerning money
202                  8/29/2008   John Scanlon        Michael Stanfield           Neal Dittersdorf                                                            Attorney-Client
                                                                                                        owed to Intersections by Joe Loomis
                                                                                                        Email prepared at the request of counsel and
203                  8/29/2008   John Scanlon        Michael Stanfield           Neal Dittersdorf       relaying legal advice concerning money owed to       Attorney-Client
                                                                                                        INTX by Mr. Loomis



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Entry
           Bates No.        Date               From                    To                           Copied To                        Subject                                Privilege
 No.
                                                                                                                Email seeking and relaying legal advice concerning
204                    8/29/2008    John Scanlon        Michael Stanfield                Neal Dittersdorf                                                          Attorney-Client
                                                                                                                potential separation agreement
                                                                                                                Email chain relaying legal advice concerning
205                    9/3/2008     Michael Stanfield   John Scanlon                                                                                               Attorney-Client
                                                                                                                money owed to INTX by Joe Loomis
                                                                                                                Email chain relaying legal advice concerning
206                    9/3/2008     Michael Stanfield   John Scanlon                                                                                               Attorney-Client
                                                                                                                potential separation agreement
                                                                                                                Draft email chain seeking and relaying legal advice
207                    9/3/2008                         John Scanlon                                                                                                Attorney-Client
                                                                                                                concerning potential separation agreement
                                                                                                                Email seeking legal advice concerning Joe Loomis'
208                    9/4/2008     John Scanlon        Neal Dittersdorf                                                                                             Attorney-Client
                                                                                                                employment agreement
                                                                                                                Email seeking legal advice concerning potential
209                    9/4/2008     John Scanlon        Neal Dittersdorf                                                                                             Attorney-Client
                                                                                                                separation agreement
                                                                                                                Email seeking legal advice concerning legal review
210                    9/5/2008     John Scanlon        Neal Dittersdorf                                                                                             Attorney-Client
                                                                                                                of client contracts
                                                                                                                Email seeking legal advice concerning legal review
211                    9/5/2008     John Scanlon        Neal Dittersdorf                                                                                             Attorney-Client
                                                                                                                of client contracts
                                                                                                                Email chain relaying, seeking, and providing legal
212                    9/6/2008     John Scanlon        Neal Dittersdorf                                        advice concerning money owed to INTX by Joe          Attorney-Client
                                                                                                                Loomis
                                                                                                                Email chain seeking and providing legal advice
213                    9/6/2008     John Scanlon        Neal Dittersdorf                                                                                             Attorney-Client
                                                                                                                concerning BIG tax
                                                                                                                Email chain seeking, providing, and relaying legal
214                    9/15/2008    Neal Dittersdorf    John Scanlon                                            advice concerning Joe Loomis' employment             Attorney-Client
                                                                                                                agreement
                                                                                                                Email chain seeking and providing legal advice
215                    9/15/2008    Neal Dittersdorf    John Scanlon                                                                                                 Attorney-Client
                                                                                                                concerning potential separation agreement
                                                                                                                Email prepared at the request of counsel
                                                                                                                                                                     Attorney-Client; Work
216                    10/3/2008    John Scanlon        Michael Stanfield                                       concerning NEI employees working for Loomis
                                                                                                                                                                     Product
                                                                                                                Enterprises
                                                                                                                Email seeking legal advice concerning use of NEI
217     INTX136682     10/9/2008    Jason Wood          Neal Dittersdorf; John Scanlon                                                                               Attorney-Client
                                                                                                                employees for Loomis Enterprises work
                                                                                                                Email seeking legal advice concerning NEI
218     INTX138688     10/9/2008    Jason Wood          Neal Dittersdorf; John Scanlon                                                                               Attorney-Client
                                                                                                                employees working for Loomis Enterprises
                                                                                                                Email seeking legal advice concerning NEI
219     INTX165873     10/9/2008    Jason Wood          Neal Dittersdorf; John Scanlon                                                                               Attorney-Client
                                                                                                                employees working for Loomis Enterprises
                                                                                                                Email seeking legal advice concerning NEI
220     INTX165877     10/9/2008    Jason Wood          Jason Wood                                                                                                   Attorney-Client
                                                                                                                employees working for Loomis enterprises
                                                                                                                Email chain relaying legal advice concerning Joe     Attorney-Client; Work
221                    10/10/2008   Michael Stanfield   John Scanlon
                                                                                                                Loomis' employment agreement                         Product



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Entry
           Bates No.        Date               From                    To                           Copied To                        Subject                                 Privilege
 No.
                                                                                                                Email relaying legal advice concerning dispute with   Attorney-Client; Work
222                    10/10/2008   John Scanlon        Michael Stanfield                Neal Dittersdorf
                                                                                                                Joe Loomis                                            Product
                                                                                                                Email chain prepared at the request of counsel and
                                                                                                                                                                      Attorney-Client; Work
223                    10/10/2008   Michael Stanfield   John Scanlon                                            relaying legal advice concerning suspension of Mr.
                                                                                                                                                                      Product
                                                                                                                Loomis
                                                                                                                Email chain relaying and seeking legal advice         Attorney-Client; Work
224                    10/10/2008   John Scanlon        Neal Dittersdorf
                                                                                                                concerning suspension of Mr. Loomis                   Product
                                                                                                                Email seeking legal advice concerning suspension      Attorney-Client; Work
225                    10/10/2008   John Scanlon        Neal Dittersdorf
                                                                                                                of Mr. Loomis                                         Product
                                                                                                                Email chain seeking and providing legal advice        Attorney-Client; Work
226                    10/10/2008   John Scanlon        Neal Dittersdorf
                                                                                                                concerning potential separation agreement             Product
                                                                                                                Email chain seeking and providing legal advice        Attorney-Client; Work
227                    10/10/2008   John Scanlon        Neal Dittersdorf
                                                                                                                concerning potential separation agreement             Product
                                                                                                                Email chain seeking and providing legal advice        Attorney-Client; Work
228                    10/10/2008   John Scanlon        Neal Dittersdorf
                                                                                                                concerning potential separation agreement             Product
                                                                                                                Email prepared at the request of counsel and
                                                                                                                                                                      Attorney-Client; Work
229                    10/10/2008   John Scanlon        Michael Stanfield                Neal Dittersdorf       relaying legal advice concerning potential
                                                                                                                                                                      Product
                                                                                                                separation agreement
                                                                                                                Email seeking and relaying legal advice concerning    Attorney-Client; Work
230                    10/10/2008   John Scanlon        Michael Stanfield                Neal Dittersdorf
                                                                                                                potential separation agreement                        Product
                                                                                                                Email providing legal advice concerning               Attorney-Client; Work
231                    10/15/2008   Neal Dittersdorf    John Scanlon; Michelle Tutt
                                                                                                                suspension of Mr. Loomis                              Product
                                                                                                                Email seeking legal advice concerning
232     INTX141089     10/20/2008   John Scanlon        Neal Dittersdorf                                                                                              Attorney-Client
                                                                                                                communication from Mr. Loomis
                                                                                                                Email seeking legal advice concerning
233     INTX141097     10/20/2008   John Scanlon        Neal Dittersdorf                                                                                              Attorney-Client
                                                                                                                communication from Mr. Loomis
                                                        Michael Stanfield; Neal                                 Email seeking legal advice concerning
234                    10/20/2008   John Scanlon                                                                                                                      Attorney-Client
                                                        Dittersdorf                                             communication from Mr. Loomis
                                                                                                                Email seeking legal advice concerning
235     INTX058883     10/20/2008   Michael Stanfield   John Scanlon; Neal Dittersdorf                                                                                Attorney-Client
                                                                                                                communication from Mr. Loomis
                                                                                                                Email chain seeking legal advice concerning data
236     INTX139718     10/21/2008   Jason Wood          John Scanlon                     Neal Dittersdorf                                                             Attorney-Client
                                                                                                                destruction
                                                                                                                Email seeking legal advice concerning data
237     INTX139737     10/21/2008   John Scanlon        Jason Wood                       Neal Dittersdorf                                                             Attorney-Client
                                                                                                                destruction
                                                                                                                Email seeking legal advice concerning data            Attorney-Client; Work
238                    10/21/2008   John Scanlon        Jason Wood                       Neal Dittersdorf
                                                                                                                destruction                                           Product
                                                                                                                Email seeking legal advice concerning data            Attorney-Client; Work
239                    10/21/2008   John Scanlon        Jason Wood                       Neal Dittersdorf
                                                                                                                destruction                                           Product
                                                                                                                Email chain seeking, providing, and relaying legal    Attorney-Client; Work
240     INTX138625     10/22/2008   John Scanlon        Jonathan Slaton
                                                                                                                advice concerning data destruction                    Product



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Entry
           Bates No.        Date               From                     To                         Copied To                                  Subject                                Privilege
 No.
                                                                                                                         Email chain seeking legal advice concerning data
241     INTX138629     10/22/2008   John Scanlon        Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                         destruction
                                                                                                                         Email providing legal advice concerning email from
242     INTX138709     10/22/2008   Neal Dittersdorf    Chris Cwalina                    John Scanlon                                                                         Attorney-Client
                                                                                                                         Brooks Holcomb
                                                                                                                         Email providing legal advice concerning email from
243     INTX138713     10/22/2008   Neal Dittersdorf    John Scanlon                                                                                                          Attorney-Client
                                                                                                                         Brooks Holcomb
                                                                                                                         Email chain seeking and providing legal advice
244     INTX139721     10/22/2008   John Scanlon        Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                         concerning data destruction
                                                                                                                         Email chain seeking and providing legal advice
245     INTX139726     10/22/2008   John Scanlon        Neal Dittersdorf                                                                                                      Attorney-Client
                                                                                                                         concerning data destruction
                                                                                                                         Email seeking legal advice concerning schedules to   Attorney-Client; Work
246                    10/22/2008   John Scanlon        Neal Dittersdorf
                                                                                                                         stock purchase agreement                             Product
                                                                                                                         Email chain seeking and providing legal advice       Attorney-Client; Work
247                    10/22/2008   John Scanlon        Chris Cwalina
                                                                                                                         concerning employee interview                        Product
                                                                                                                         Email chain seeking and providing legal advice
248     INTX140402     10/24/2008   Chris Cwalina       Michelle Tutt                    Neal Dittersdorf; John Scanlon                                                       Attorney-Client
                                                                                                                         concerning pay stub
                                                                                                                         Email seeking legal advice concerning return of
249     INTX141084     10/24/2008   John Scanlon        Chris Cwalina                    Neal Dittersdorf                                                                     Attorney-Client
                                                                                                                         property to Mr. Loomis
                                                                                                                         Email seeking legal advice concerning return of
250     INTX141145     10/24/2008   John Scanlon        Chris Cwalina                                                                                                         Attorney-Client
                                                                                                                         property to Mr. Loomis
                                                                                                                         Email chain prepared at the request of counsel and
                                                        Chris Cwalina; Larry Crowson;                                                                                         Attorney-Client; Work
251                    10/24/2008   Scott Bevington                                      Pete Enghauser; Jonathan Slaton seeking and providing legal advice concerning NEI
                                                        Tim Browne; Chris Soyars                                                                                              Product
                                                                                                                         investigation
                                                                                                                         Email prepared at the request of counsel and        Attorney-Client; Work
252                    10/24/2008   Jason Wood          John Scanlon                     Wendy Weinberger
                                                                                                                         seeking legal advice concerning overbilling of Sony Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
253                    10/27/2008   Chris Cwalina       John Scanlon
                                                                                                                         concerning NEI investigation                         Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
254                    10/27/2008   Larry Crowson       John Scanlon; Chris Cwalina
                                                                                                                         concerning NEI investigation                         Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
255                    10/27/2008   John Scanlon        Chris Cwalina; Larry Crowson
                                                                                                                         concerning NEI investigation                         Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
256                    10/27/2008   Chris Cwalina       John Scanlon
                                                                                                                         concerning NEI investigation                         Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
257                    10/27/2008   Larry Crowson       John Scanlon; Chris Cwalina
                                                                                                                         concerning data destruction                          Product
                                                                                                                         Email chain prepared at the request of counsel       Attorney-Client; Work
258                    10/27/2008   John Scanlon        Chris Cwalina; Larry Crowson
                                                                                                                         concerning data destruction                          Product
                                                                                                                         Email providing legal advice concerning              Attorney-Client; Work
259     INTX138995     10/29/2008   Chris Cwalina       Neal Dittersdorf; John Scanlon
                                                                                                                         communication with Brooks Holcomb                    Product



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Entry
           Bates No.        Date               From                   To                          Copied To                                  Subject                               Privilege
 No.
                                                                                                                       Email prepared at the request of counsel              Attorney-Client; Work
260     INTX139788     10/29/2008   John Scanlon       Chris Cwalina; Neal Dittersdorf
                                                                                                                       concerning "charges" against Mr. Loomis               Product
                                                                                                                       Email chain seeking and providing legal advice        Attorney-Client; Work
261     INTX141152     10/29/2008   John Scanlon       Chris Cwalina; Neal Dittersdorf
                                                                                                                       concerning return of property to Mr. Loomis           Product
                                                                                                                       Email chain seeking and providing legal advice        Attorney-Client; Work
262     INTX139748     10/30/2008   Chris Cwalina      Neal Dittersdorf; John Scanlon
                                                                                                                       concerning return of property to Mr. Loomis           Product
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
263                    10/30/2008   Chris Soyars       John Scanlon; Chris Cwalina     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
264                    10/30/2008   John Scanlon       Chris Soyars; Chris Cwalina     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
265                    10/30/2008   John Scanlon       Chris Soyars; Chris Cwalina     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel
266                    10/30/2008   John Scanlon       Jonathan Slaton                                                                                                       Work Product
                                                                                                                       concerning NEI investigation
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
267                    10/30/2008   John Scanlon       Chris Cwalina; Chris Soyars     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
268                    10/30/2008   John Scanlon       Chris Soyars; Chris Cwalina     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
269                    10/30/2008   Chris Soyars       John Scanlon; Chris Cwalina     Jonathan Slaton
                                                                                                                       concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel
                                                                                                                                                                             Attorney-Client; Work
270                    10/30/2008   Chris Soyars       John Scanlon; Chris Cwalina     Jonathan Slaton                 concerning NEI investigation and attached
                                                                                                                                                                             Product
                                                                                                                       compilation of information
                                                                                                                       Attached compilation of information prepared at the   Attorney-Client; Work
271                    10/30/2008
                                                                                                                       direction of counsel                                  Product
                                                       John Scanlon; Jonathan Slaton;                                  Email chain prepared at the request of counsel        Attorney-Client; Work
272                    10/31/2008   Chris Soyars
                                                       Chris Cwalina                                                   concerning NEI investigation                          Product
                                                       Jonathan Slaton; John Scanlon;                                  Email chain prepared at the request of counsel        Attorney-Client; Work
273                    10/31/2008   Chris Soyars
                                                       Chris Cwalina                                                   concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel
274                    10/31/2008   John Scanlon       Jonathan Slaton                                                                                                       Work Product
                                                                                                                       concerning NEI investigation
                                                       Chris Soyars; Jonathan Slaton;                                  Email chain prepared at the request of counsel        Attorney-Client; Work
275                    10/31/2008   John Scanlon
                                                       Chris Cwalina                                                   concerning NEI investigation                          Product
                                                                                                                       Email chain prepared at the request of counsel and
                                                       Larry Crowson; Chris Cwalina;                                                                                         Attorney-Client; Work
276                    10/31/2008   Scott Bevington                                    Pete Enghauser; Jonathan Slaton seeking and providing legal advice concerning NEI
                                                       Tim Browne; Chris Soyars                                                                                              Product
                                                                                                                       investigation
                                                       Tim Browne; Scott Bevington;                                    Email chain prepared at the request of counsel        Attorney-Client; Work
277                    10/31/2008   Chris Soyars                                       Pete Enghauser; Jonathan Slaton
                                                       Larry Crowson; Chris Cwalina                                    concerning NEI investigation                          Product
                                                       Jonathan Slaton; John Scanlon;                                  Email chain prepared at the request of counsel        Attorney-Client; Work
278                    10/31/2008   Chris Soyars
                                                       Chris Cwalina                                                   concerning NEI investigation                          Product



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Entry
           Bates No.        Date               From                     To               Copied To                        Subject                                 Privilege
 No.
                                                       John Scanlon; Jonathan Slaton;                Email chain prepared at the request of counsel        Attorney-Client; Work
279                    10/31/2008   Chris Soyars
                                                       Chris Cwalina                                 concerning NEI investigation                          Product
                                                       Jonathan Slaton; John Scanlon;                Email chain prepared at the request of counsel        Attorney-Client; Work
280                    10/31/2008   Chris Soyars
                                                       Chris Cwalina                                 concerning NEI investigation                          Product
                                                                                                     Email chain prepared at the request of counsel and
                                                                                                                                                           Attorney-Client; Work
281                    11/3/2008    Chris Cwalina      John Scanlon                                  providing legal advice concerning conversion of
                                                                                                                                                           Product
                                                                                                     NEI employee time
                                                                                                     Email seeking legal advice concerning return of
282     INTX139751     11/3/2008    John Scanlon       Chris Cwalina; Neal Dittersdorf                                                                     Attorney-Client
                                                                                                     property to Mr. Loomis
                                                       John Scanlon; Jonathan Slaton;                Email chain prepared at the request of counsel        Attorney-Client; Work
283                    11/3/2008    Chris Soyars
                                                       Chris Cwalina                                 concerning NEI investigation                          Product
                                                                                                     Email chain prepared at the request of counsel
284                    11/3/2008    Jason Wood         Danielle DiDio                                                                                      Work Product
                                                                                                     concerning overbilling of Sony
                                                                                                     Email chain prepared at the request of counsel and
                                                       John Scanlon; Jonathan Slaton;                seeking and providing legal advice concerning NEI Attorney-Client; Work
285                    11/3/2008    Chris Soyars
                                                       Chris Cwalina                                 investigation and attaching compilation of         Product
                                                                                                     information at the direction of counsel
                                                                                                     Attached compilation of information prepared at the   Attorney-Client; Work
286                    11/3/2008
                                                                                                     direction of counsel                                  Product
                                                                                                     Email chain prepared at the request of counsel and
                                                                                                                                                           Attorney-Client; Work
287                    11/4/2008    Chris Cwalina      John Scanlon                                  providing legal advice concerning movement of
                                                                                                                                                           Product
                                                                                                     funds
                                                                                                     Email prepared at the request of counsel              Attorney-Client; Work
288                    11/4/2008    Danielle DiDio     Chris Cwalina
                                                                                                     concerning NEI investigation                          Product
                                                                                                     Email prepared at the request of counsel              Attorney-Client; Work
289                    11/4/2008    Danielle DiDio     Chris Cwalina
                                                                                                     concerning NEI investigation                          Product
                                                                                                     Email seeking legal advice concerning covert
290     INTX002810     11/5/2008    Danielle DiDio     Chris Cwalina                                                                                       Attorney-Client
                                                                                                     purchases
                                                                                                     Email chain seeking and providing legal advice
291     INTX140754     11/5/2008    John Scanlon       Chris Cwalina; Neal Dittersdorf                                                                     Attorney-Client
                                                                                                     concerning private investigator licenses
                                                                                                     Email chain seeking and providing legal advice        Attorney-Client; Work
292     INTX002740     11/6/2008    Chris Cwalina      Jason Wood
                                                                                                     concerning return of property to Mr. Loomis           Product
                                                                                                     Chart prepared by Intersections and NEI
293                    11/6/2008                                                                     employees at the request of counsel concerning        Work Product
                                                                                                     Sony overbilling and double billing
                                                                                                     Chart prepared by Intersections and NEI
294                    11/6/2008                                                                     employees at the request of counsel concerning        Work Product
                                                                                                     Sony overbilling and double billing




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Entry
           Bates No.        Date               From                     To                         Copied To                                Subject                               Privilege
 No.
                                                                                                                      Email chain prepared at the request of counsel and Attorney-Client; Work
295                    11/6/2008    John Scanlon        Jonathan Slaton; Chris Cwalina
                                                                                                                      seeking legal advice concerning data destruction   Product
                                                        Jonathan Slaton; Scott                                        Email chain prepared at the request of counsel
296                    11/6/2008    John Scanlon                                         Chris Cwalina                                                                     Attorney-Client
                                                        Bevington; Chris Soyars                                       concerning NEI investigation
                                                                                                                      Email chain seeking and providing legal advice       Attorney-Client; Work
297                    11/6/2008    Chris Cwalina       Jason Wood
                                                                                                                      concerning return of property to Mr. Loomis          Product
                                                                                                                      Email chain seeking and providing legal advice       Attorney-Client; Work
298                    11/6/2008    Linda M. Jackson    Chris Cwalina; Jason Wood
                                                                                                                      concerning return of property to Mr. Loomis          Product
                                                                                                                      Email chain seeking and providing legal advice       Attorney-Client; Work
299                    11/6/2008    Chris Cwalina       Jason Wood
                                                                                                                      concerning return of property to Mr. Loomis          Product
                                                                                                                      Email chain prepared at the request of counsel       Attorney-Client; Work
300                    11/7/2008    Madalyn Behneman    John Scanlon; Chris Cwalina
                                                                                                                      concerning double billing of Sony                    Product
                                                                                                                      Email chain providing legal advice concerning        Attorney-Client; Work
301                    11/7/2008    Jackson, Linda M.   Jason Wood
                                                                                                                      return of property to Joe Loomis                     Product
                                                                                                                      Email prepared at the request of counsel
                                                                                                                                                                           Attorney-Client; Work
302     INTX055794     11/7/2008    Madalyn Behneman    Chris Cwalina                                                 concerning due diligence and the closing balance
                                                                                                                                                                           Product
                                                                                                                      sheet
                                                                                                                      Email chain prepared at the request of counsel
                                                                                                                                                                           Attorney-Client; Work
303                    11/10/2008   John Scanlon        Madalyn Behneman; Joetta Kilby Neal Dittersdorf               collecting information concerning investigation of
                                                                                                                                                                           Product
                                                                                                                      Joe and Jenni Loomis
                                                                                                                      Email prepared at the request of counsel             Attorney-Client; Work
304                    11/10/2008   John Scanlon        Madalyn Behneman; Joetta Kilby Neal Dittersdorf
                                                                                                                      concerning NEI investigation                         Product
                                                                                                                      Email prepared at the request of counsel and         Attorney-Client; Work
305                    11/10/2008   John Scanlon        Madalyn Behneman; Joetta Kilby Neal Dittersdorf
                                                                                                                      relaying legal advice concerning NEI investigation   Product
                                                                                                                      Email seeking legal advice concerning the
306                    11/10/2008   John Scanlon        Chris Cwalina; Michelle Tutt     Linda M. Jackson                                                                  Attorney-Client
                                                                                                                      suspension of Mr. Loomis
                                                                                                                      Email chain seeking and providing legal advice       Attorney-Client; Work
307                    11/11/2008   Chris Cwalina       Michelle Tutt                    John Scanlon
                                                                                                                      concerning data destruction                          Product
                                                                                                                      Email seeking legal advice concerning destruction    Attorney-Client; Work
308                    11/11/2008   Jason Wood          Chris Cwalina
                                                                                                                      of documents                                         Product
                                                                                                                      Email seeking legal advice concerning
309                    11/13/2008   Michael Stanfield   John Scanlon; Chris Cwalina                                                                                        Attorney-Client
                                                                                                                      communications from Mr. Loomis
                                                                                                                      Email chain prepared at the request of counsel       Attorney-Client; Work
310                    11/13/2008   John Scanlon        Scott Bevington
                                                                                                                      concerning NEI investigation                         Product
                                                                                                                      Email chain prepared at the request of counsel       Attorney-Client; Work
311                    11/13/2008   Scott Bevington     Jonathan Slaton; Chris Cwalina   John Scanlon; Chris Soyars
                                                                                                                      concerning NEI investigation                         Product
                                                                                                                      Email seeking legal advice concerning
312     INTX058881     11/13/2008   Michael Stanfield   John Scanlon; Chris Cwalina                                                                                        Attorney-Client
                                                                                                                      communication from Mr. Loomis



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Entry
         Bates No.        Date                   From                    To                     Copied To                        Subject                                Privilege
 No.
                                                                                                            Email providing legal advice concerning              Attorney-Client; Work
313                  11/14/2008   Chris Cwalina         Madalyn Behneman; Tracy Ward
                                                                                                            investigation of Joe and Jenni Loomis                Product
                                                                                                            Email prepared at the request of counsel and         Attorney-Client; Work
314                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman
                                                                                                            collection information concerning tax issues         Product
                                                                                                            Email chain prepared at the request of counsel and   Attorney-Client; Work
315                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman
                                                                                                            collecting information concerning tax issues         Product
                                                                                                            Email chain prepared at the request of counsel and   Attorney-Client; Work
316                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman
                                                                                                            collecting information concerning tax issues         Product
                                                                                                            Email chain prepared at the request of counsel and   Attorney-Client; Work
317                  11/14/2008   Chris Cwalina         Tracy Ward                     Madalyn Behneman
                                                                                                            collecting information concerning tax issues         Product
                                                                                                            Email chain prepared at the request of counsel and   Attorney-Client; Work
318                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman
                                                                                                            collecting information concerning tax issues         Product
                                                                                                            Email chain prepared at the request of counsel and   Attorney-Client; Work
319                  11/14/2008   Chris Cwalina         Tracy Ward                     Madalyn Behneman
                                                                                                            collecting information concerning tax issues         Product
                                                                                                            Email providing legal advice concerning NEI          Attorney-Client; Work
320                  11/14/2008   Chris Cwalina         Madalyn Behneman; Tracy Ward
                                                                                                            investigation                                        Product
                                                                                                            Email chain seeking and providing legal advice       Attorney-Client; Work
321                  11/14/2008   Chris Cwalina         Tracy Ward; Joetta Kilby
                                                                                                            concerning NEI investigation                         Product
                                                                                                            Email chain seeking and providing legal advice       Attorney-Client; Work
322                  11/14/2008   Joetta Kilby          Chris Cwalina; Tracy Ward
                                                                                                            concerning NEI investigation                         Product
                                                                                                            Email chain seeking and providing legal advice       Attorney-Client; Work
323                  11/14/2008   Chris Cwalina         Joetta Kilby; Tracy Ward
                                                                                                            concerning NEI investigation                         Product
                                                                                                            Email chain seeking and providing legal advice       Attorney-Client; Work
324                  11/14/2008   Joetta Kilby          Chris Cwalina; Tracy Ward
                                                                                                            concerning NEI investigation                         Product
                                                                                                            Email chain seeking and providing legal advice
325                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman                                                          Attorney-Client
                                                                                                            concerning tax issues
                                                                                                            Email chain seeking and providing legal advice
326                  11/14/2008   Tracy Ward            Chris Cwalina                  Madalyn Behneman                                                          Attorney-Client
                                                                                                            concerning tax issues
                                                                                                            Email chain prepared at the request of counsel and
                                                                                                                                                                 Attorney-Client; Work
327                  11/17/2008   Chris Cwalina         John Scanlon                                        seeking and providing legal advice concerning
                                                                                                                                                                 Product
                                                                                                            feature specifications
                                                                                                            Email chain prepared at the request of counsel and
                                                                                                                                                                 Attorney-Client; Work
328                  11/17/2008   Chris Cwalina         Danielle DiDio                                      seeking and providing legal advice concerning
                                                                                                                                                                 Product
                                                                                                            overbilling of Sony
                                                                                                            Email chain prepared at the request of counsel and
                                                                                                                                                                 Attorney-Client; Work
329                  11/17/2008   Danielle DiDio        Jason Wood                                          seeking and providing legal advice concerning
                                                                                                                                                                 Product
                                                                                                            overbilling of Sony
                                                                                                            Email chain prepared at the request of counsel and
                                                                                                                                                                 Attorney-Client; Work
330                  11/17/2008   Danielle DiDio        Jason Wood                                          seeking and providing legal advice concerning
                                                                                                                                                                 Product
                                                                                                            overbilling of Sony



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Entry
         Bates No.        Date               From                     To             Copied To                        Subject                               Privilege
 No.
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
331                  11/17/2008   Jason Wood         Chris Cwalina; Danielle DiDio               seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
332                  11/17/2008   Jason Wood         Chris Cwalina; Danielle DiDio               seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
333                  11/17/2008   Danielle DiDio     Jason Wood; Chris Cwalina                   seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
334                  11/17/2008   Danielle DiDio     Chris Cwalina                               seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
335                  11/17/2008   Danielle DiDio     Chris Cwalina; Jason Wood                   seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
336                  11/17/2008   Danielle DiDio     Chris Cwalina; Jason Wood                   seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
337                  11/17/2008   Danielle DiDio     Chris Cwalina                               seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
338                  11/17/2008   Chris Cwalina      Jason Wood                                  seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
339                  11/17/2008   Chris Cwalina      Danielle DiDio                              seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
340                  11/17/2008   Chris Cwalina      Jason Wood                                  seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
341                  11/17/2008   Chris Cwalina      Danielle DiDio                              seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
342                  11/17/2008   Danielle DiDio     Jason Wood; Chris Cwalina                   seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony
                                                                                                 Email chain prepared at the request of counsel and
                                                                                                                                                      Attorney-Client; Work
343                  11/17/2008   Danielle DiDio     Chris Cwalina                               seeking and providing legal advice concerning
                                                                                                                                                      Product
                                                                                                 overbilling of Sony




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Entry
         Bates No.        Date               From                     To                      Copied To                        Subject                               Privilege
 No.
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
344                  11/17/2008   Danielle DiDio     Chris Cwalina; Jason Wood                            seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
345                  11/17/2008   Danielle DiDio     Jason Wood                                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
346                  11/17/2008   Danielle DiDio     Jason Wood                                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
347                  11/17/2008   Jason Wood         Chris Cwalina; Danielle DiDio                        seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
348                  11/17/2008   Jason Wood         Chris Cwalina; Danielle DiDio                        seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
349                  11/17/2008   Jason Wood         Chris Cwalina; Danielle DiDio                        seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
350                  11/17/2008   Danielle DiDio     Jason Wood                                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
351                  11/17/2008   Danielle DiDio     Jason Wood                                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
352                  11/17/2008   Chris Cwalina      Danielle DiDio                  Jason Wood           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
353                  11/17/2008   Chris Cwalina      Jason Wood; Danielle DiDio                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
354                  11/17/2008   Danielle DiDio     Chris Cwalina                                        seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
355                  11/17/2008   Chris Cwalina      Jason Wood; Danielle DiDio                           seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony
                                                                                                          Email chain prepared at the request of counsel and
                                                                                                                                                               Attorney-Client; Work
356                  11/17/2008   Danielle DiDio     Jason Wood; Chris Cwalina                            seeking and providing legal advice concerning
                                                                                                                                                               Product
                                                                                                          overbilling of Sony




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Entry
           Bates No.        Date                   From                   To                         Copied To                                Subject                               Privilege
 No.
                                                                                                                        Email chain prepared at the request of counsel and
                                                                                                                                                                             Attorney-Client; Work
357                    11/17/2008   Chris Cwalina         Jason Wood                                                    seeking and providing legal advice concerning
                                                                                                                                                                             Product
                                                                                                                        overbilling of Sony
                                                                                                                        Email chain seeking and providing legal advice       Attorney-Client; Work
358                    11/17/2008   Chris Cwalina         Joetta Kilby; Tracy Ward
                                                                                                                        concerning NEI investigation                         Product
                                                                                                                        Email chain seeking and providing legal advice       Attorney-Client; Work
359                    11/17/2008   Joetta Kilby          Chris Cwalina; Tracy Ward
                                                                                                                        concerning NEI investigation                         Product
                                                                                                                        Email chain prepared at the request of counsel       Attorney-Client; Work
360                    11/18/2008   Scott Bevington       Jonathan Slaton; Chris Cwalina   John Scanlon; Chris Soyars
                                                                                                                        concerning NEI investigation                         Product
                                                                                                                        Email chain seeking and providing legal advice       Attorney-Client; Work
361                    11/18/2008   Chris Cwalina         Tracy Ward
                                                                                                                        concerning tax issues                                Product
                                                                                                                        Email chain seeking and providing legal advice       Attorney-Client; Work
362                    11/18/2008   Chris Cwalina         Tracy Ward
                                                                                                                        concerning tax issues                                Product
                                                                                                                        Email chain seeking and providing legal advice       Attorney-Client; Work
363                    11/18/2008   Chris Cwalina         Tracy Ward
                                                                                                                        concerning tax issues                                Product
                                                                                                                        Email chain seeking and providing legal advice
364                    11/18/2008   Tracy Ward            Chris Cwalina                                                                                                      Attorney-Client
                                                                                                                        concerning tax issues
                                                                                                                        Email chain seeking and providing legal advice
365                    11/18/2008   Tracy Ward            Chris Cwalina                                                                                                      Attorney-Client
                                                                                                                        concerning tax issues
                                                                                                                        Email chain seeking and providing legal advice
366                    11/18/2008   Tracy Ward            Chris Cwalina                                                                                                      Attorney-Client
                                                                                                                        concerning tax issues
                                                                                                                        Email chain seeking, providing, and relaying legal
367                    11/19/2008   Chris Cwalina         Danielle DiDio; Jason Wood                                                                                         Attorney-Client
                                                                                                                        advice concerning private investigator licenses
                                                                                                                        Email chain providing and relaying legal advice      Attorney-Client; Work
368                    11/19/2008   Chris Cwalina         Michelle Tutt                    Madalyn Behneman
                                                                                                                        concerning Joe Loomis' employment agreement          Product
                                                                                                                        Email chain seeking, providing, and relaying legal
                                                                                                                                                                             Attorney-Client; Work
369                    11/19/2008   Michelle Tutt         Chris Cwalina                    Madalyn Behneman             advice concerning Joe Loomis' employment
                                                                                                                                                                             Product
                                                                                                                        agreement
                                                                                                                        Email chain seeking, providing, and relaying legal
                                                                                                                                                                             Attorney-Client; Work
370                    11/19/2008   Madalyn Behneman      Tracy Ward                                                    advice concerning Joe Loomis' employment
                                                                                                                                                                             Product
                                                                                                                        agreement
                                                                                                                        Email chain providing and relaying legal advice      Attorney-Client; Work
371                    11/19/2008   Chris Cwalina         Madalyn Behneman
                                                                                                                        concerning Joe Loomis' employment agreement          Product
                                                                                                                        Email chain seeking, providing, and relaying legal   Attorney-Client; Work
372                    11/19/2008   Madalyn Behneman      Tracy Ward
                                                                                                                        advice concerning Loomis stock options               Product
                                                                                                                        Email seeking legal advice concerning
373     INTX058903     11/20/2008   Michael Stanfield     Chris Cwalina                                                                                                      Attorney-Client
                                                                                                                        communication from Mr. Loomis
                                                                                                                        Email providing legal advice concerning meeting      Attorney-Client; Work
374     INTX058554     11/21/2008   Chris Cwalina         Michael Stanfield
                                                                                                                        with Joe Loomis                                      Product



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Entry
           Bates No.        Date               From                    To                         Copied To                               Subject                               Privilege
 No.
                                                                                                                    Email chain prepared at the request of counsel        Attorney-Client; Work
375                    11/25/2008   John Scanlon       Chris Cwalina
                                                                                                                    concerning NEI investigation                          Product
                                                                                                                    Email chain prepared at the request of counsel        Attorney-Client; Work
376                    11/25/2008   John Scanlon       Chris Cwalina
                                                                                                                    concerning NEI investigation                          Product
                                                                                                                    Email chain prepared at the request of counsel
                                                       Larry Crowson; Chris Cwalina;                                                                                      Attorney-Client; Work
377                    11/25/2008   Scott Bevington                                    Chris Soyars; Tim Browne     concerning NEI investigation and attached
                                                       Jonathan Slaton                                                                                                    Product
                                                                                                                    compilation of information
                                                                                                                    Attached compilation of information prepared at the   Attorney-Client; Work
378                    11/25/2008
                                                                                                                    direction of counsel                                  Product
                                                                                                                    Email chain prepared at the request of counsel
                                                       Larry Crowson; Scott Bevington;                                                                                    Attorney-Client; Work
379                    11/25/2008   Chris Soyars                                       Tim Browne; Pete Enghauser   concerning NEI investigation and attached
                                                       Chris Cwalina; Jonathan Slaton                                                                                     Product
                                                                                                                    compilation of information
                                                                                                                    Attached compilation of information prepared at the   Attorney-Client; Work
380                    11/25/2008
                                                                                                                    direction of counsel                                  Product
                                                                                                                    Email chain prepared at the request of counsel        Attorney-Client; Work
381                    12/1/2008    John Scanlon       Larry Crowson
                                                                                                                    concerning NEI investigation                          Product
                                                                                                                    Email chain prepared at the request of counsel
                                                       John Scanlon; Madalyn                                                                                              Attorney-Client; Work
382                    12/5/2008    Chris Cwalina                                                                   seeking and providing legal advice concerning
                                                       Behneman                                                                                                           Product
                                                                                                                    Loomis investigation
                                                       John Scanlon; Madalyn                                        Email chain prepared at the request of counsel and Attorney-Client; Work
383                    12/5/2008    Chris Cwalina
                                                       Behneman                                                     providing legal advice concerning NEI investigation Product

                                                                                                                    Email chain prepared at the request of counsel and Attorney-Client; Work
384                    12/5/2008    Madalyn Behneman   John Scanlon; Chris Cwalina     Joetta Kilby
                                                                                                                    collecting information concerning NEI investigation Product

                                                       Madalyn Behneman; Chris                                      Email chain prepared at the request of counsel and Attorney-Client; Work
385                    12/5/2008    John Scanlon
                                                       Cwalina                                                      relaying legal advice concerning NEI investigation Product
                                                       John Scanlon; Madalyn                                        Email chain seeking, providing, and relaying legal    Attorney-Client; Work
386                    12/5/2008    Chris Cwalina
                                                       Behneman                                                     advice concerning NEI investigation                   Product
                                                                                                                    Email chain prepared at the request of counsel and Attorney-Client; Work
387                    12/5/2008    Madalyn Behneman   John Scanlon; Chris Cwalina     Joetta Kilby
                                                                                                                    relaying legal advice concerning NEI investigation Product

                                                                                                                    Email chain seeking, providing, and relaying legal    Attorney-Client; Work
388     INTX002575     12/7/2008    Chris Cwalina      Jason Wood
                                                                                                                    advice concerning return of property to Mr. Loomis    Product
                                                                                                                    Email chain seeking and providing legal advice        Attorney-Client; Work
389     INTX002643     12/7/2008    Chris Cwalina      Jason Wood
                                                                                                                    concerning return of property to Mr. Loomis           Product




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Entry
           Bates No.        Date             From                     To                       Copied To                            Subject                               Privilege
 No.
                                                                                                               Email chain seeking, providing, and relaying legal   Attorney-Client; Work
390     INTX002664     12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               advice concerning return of property to Mr. Loomis   Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
391     INTX002717     12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking, providing, and relaying legal   Attorney-Client; Work
392                    12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               advice concerning return of property to Mr. Loomis   Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
393                    12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
394                    12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
395                    12/7/2008   Jason Wood         Chris Cwalina
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
396                    12/7/2008   Jason Wood         Chris Cwalina
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
397                    12/7/2008   Chris Cwalina      Jason Wood
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
398                    12/8/2008   Chris Cwalina      John Scanlon                  Jason Wood
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain prepared at the request of counsel and
                                                                                                                                                                    Attorney-Client; Work
399                    12/8/2008   Jason Wood         Chris Cwalina                 John Scanlon               providing legal advice concerning property of Joe
                                                                                                                                                                    Product
                                                                                                               Loomis
                                                                                                               Email prepared at the request of counsel             Attorney-Client; Work
400     INTX139774     12/8/2008   John Scanlon       Chris Cwalina
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
401                    12/8/2008   Jason Wood         Chris Cwalina                 John Scanlon
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain providing legal advice concerning        Attorney-Client; Work
402     INTX136641     12/9/2008   Chris Cwalina      John Scanlon
                                                                                                               return of property to Joe Loomis                     Product
                                                                                                               Email chain providing legal advice concerning        Attorney-Client; Work
403     INTX136658     12/9/2008   Chris Cwalina      John Scanlon
                                                                                                               return of property to Joe Loomis                     Product
                                                                                                               Email chain providing and relaying legal advice      Attorney-Client; Work
404     INTX138642     12/9/2008   Chris Cwalina      John Scanlon
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain providing and relaying legal advice      Attorney-Client; Work
405     INTX138659     12/9/2008   Chris Cwalina      John Scanlon
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain seeking and providing legal advice       Attorney-Client; Work
406                    12/9/2008   Jason Wood         Chris Cwalina
                                                                                                               concerning return of property to Mr. Loomis          Product
                                                                                                               Email chain prepared at the request of counsel
                                                                                                                                                                    Attorney-Client; Work
407                    12/9/2008   Madalyn Behneman   Chris Cwalina; John Scanlon   Joetta Kilby; Tracy Ward   concerning attached chart regarding Loomis
                                                                                                                                                                    Product
                                                                                                               investigation



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Entry
           Bates No.        Date              From                     To                        Copied To                            Subject                               Privilege
 No.
                                                                                                                 Attached chart regarding Loomis investigation        Attorney-Client; Work
408                    12/9/2008
                                                                                                                 prepared at the request of counsel                   Product
                                                                                                                 Email chain prepared at the request of counsel
                                                                                                                                                                      Attorney-Client; Work
409                    12/9/2008    Madalyn Behneman   Chris Cwalina; John Scanlon    Joetta Kilby; Tracy Ward   concerning attached summary regarding NEI
                                                                                                                                                                      Product
                                                                                                                 investigation
                                                                                                                 Attached summary prepared at the request of          Attorney-Client; Work
410
                                                                                                                 counsel concerning NEI investigation                 Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
411                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
412                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
413     INTX137018     12/10/2008   John Scanlon       Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
414     INTX139757     12/10/2008   John Scanlon       Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
415                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
416                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
417                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
418                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
419                    12/10/2008   Chris Cwalina      Jason Wood                     Linda M. Jackson
                                                                                                                 concerning return of property to Joe Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
420                    12/11/2008   Linda M. Jackson   Jason Wood; Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
421                    12/11/2008   Linda M. Jackson   Jason Wood; Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
422                    12/11/2008   Chris Cwalina      Linda M. Jackson; Jason Wood
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
423                    12/11/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
424                    12/11/2008   Chris Cwalina      John Scanlon
                                                                                                                 concerning return of property to Mr. Loomis          Product
                                                                                                                 Email chain seeking, providing, and relaying legal   Attorney-Client; Work
425                    12/11/2008   Chris Cwalina      John Scanlon
                                                                                                                 advice concerning return of property to Mr. Loomis   Product
                                                                                                                 Email chain seeking and providing legal advice       Attorney-Client; Work
426                    12/11/2008   Linda M. Jackson   Jason Wood; Chris Cwalina
                                                                                                                 concerning return of property to Mr. Loomis          Product



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Entry
         Bates No.        Date               From                     To                      Copied To                         Subject                             Privilege
 No.
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
427                  12/11/2008   Chris Cwalina      Linda M. Jackson; Jason Wood
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
428                  12/11/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
429                  12/11/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
430                  12/11/2008   Chris Cwalina      Linda M. Jackson; Jason Wood
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
431                  12/11/2008   Linda M. Jackson   Jason Wood; Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email providing legal advice concerning return of   Attorney-Client; Work
432                  12/15/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          property to Joe Loomis                              Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
433                  12/15/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
434                  12/15/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
435                  12/15/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
436                  12/15/2008   Jason Wood         Linda M. Jackson               Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
437                  12/15/2008   Linda M. Jackson   Jason Wood                     Chris Cwalina
                                                                                                          concerning return of property to Mr. Loomis         Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
438                  12/18/2008   Danielle DiDio     Chris Cwalina; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
439                  12/18/2008   Chris Cwalina      Danielle DiDio; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
440                  12/18/2008   Chris Cwalina      Danielle DiDio                 Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
441                  12/18/2008   Danielle DiDio     Chris Cwalina; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
442                  12/18/2008   Chris Cwalina      Jason Wood; Danielle DiDio
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
443                  12/18/2008   Chris Cwalina      Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
444                  12/18/2008   Danielle DiDio     Chris Cwalina; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
445                  12/18/2008   Danielle DiDio     Chris Cwalina; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product
                                                                                                          Email chain seeking and providing legal advice      Attorney-Client; Work
446                  12/18/2008   Danielle DiDio     Chris Cwalina; Jason Wood
                                                                                                          concerning communication with Eli Lilly             Product



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Entry
           Bates No.        Date                   From                    To                          Copied To                                Subject                            Privilege
 No.
                                                                                                                           Email chain seeking and providing legal advice   Attorney-Client; Work
447                    12/18/2008   Chris Cwalina         Danielle DiDio
                                                                                                                           concerning communication with Eli Lilly          Product
                                                                                                                           Email chain seeking and providing legal advice   Attorney-Client; Work
448                    12/18/2008   Chris Cwalina         Jason Wood
                                                                                                                           concerning communication with Eli Lilly          Product
                                                                                                                           Email chain seeking and providing legal advice   Attorney-Client; Work
449                    12/18/2008   Danielle DiDio        Chris Cwalina; Jason Wood
                                                                                                                           concerning communication with Eli Lilly          Product
                                                                                                                           Email chain seeking and providing legal advice   Attorney-Client; Work
450                    12/18/2008   Danielle DiDio        Chris Cwalina; Jason Wood
                                                                                                                           concerning communication with Eli Lilly          Product
                                                                                                                           Email providing legal advice and seeking
                                                                                                                                                                            Attorney-Client; Work
451     INTX054349     12/30/2008   Jackson, Linda M.     Michelle Tutt                     Chris Cwalina                  information to provide additional legal advice
                                                                                                                                                                            Product
                                                                                                                           concerning Joe Loomis' expense report
                                                                                                                           Email chain seeking, providing, and seeking
                                                                                                                                                                            Attorney-Client; Work
452     INTX054372     12/31/2008   Michelle Tutt         Chris Cwalina; Linda M. Jackson                                  information to provide additional legal advice
                                                                                                                                                                            Product
                                                                                                                           concerning Joe Loomis' expense report
                                                          John Scanlon; Madalyn                                            Email chain seeking and providing legal advice
453                    1/5/2009     Chris Cwalina                                           Tracy Ward; Neal Dittersdorf                                                    Attorney-Client
                                                          Behneman; Michelle Tutt                                          concerning tax issues
                                                          Tracy Ward; Chris Cwalina;
                                                                                                                           Email chain seeking and providing legal advice
454                    1/5/2009     John Scanlon          Madalyn Behneman; Michelle        Neal Dittersdorf                                                                Attorney-Client
                                                                                                                           concerning letter from IRS
                                                          Tutt
                                                          Tracy Ward; Chris Cwalina;
                                                                                                                           Email chain seeking and providing legal advice
455                    1/5/2009     John Scanlon          Madalyn Behneman; Michelle        Neal Dittersdorf                                                                Attorney-Client
                                                                                                                           concerning letter from IRS
                                                          Tutt
                                                          Chris Cwalina; Madalyn                                           Email chain seeking and providing legal advice
456                    1/5/2009     John Scanlon                                            Tracy Ward; Neal Dittersdorf                                                    Attorney-Client
                                                          Behneman; Michelle Tutt                                          concerning letter from IRS
                                                          Tracy Ward; Chris Cwalina;
                                                                                                                           Email chain seeking and providing legal advice
457                    1/5/2009     John Scanlon          Madalyn Behneman; Michelle        Neal Dittersdorf                                                                Attorney-Client
                                                                                                                           concerning tax issues
                                                          Tutt
                                                          Chris Cwalina; Madalyn                                           Email chain seeking and providing legal advice
458                    1/5/2009     John Scanlon                                            Tracy Ward; Neal Dittersdorf                                                    Attorney-Client
                                                          Behneman; Michelle Tutt                                          concerning letter from IRS
                                                          John Scanlon; Madalyn                                            Email chain seeking and providing legal advice
459                    1/5/2009     Chris Cwalina                                           Tracy Ward; Neal Dittersdorf                                                    Attorney-Client
                                                          Behneman; Michelle Tutt                                          concerning letter from IRS
                                                                                                                           Email prepared at the request of counsel
460     INTX137378     1/7/2009     John Scanlon          Chris Cwalina                                                                                                     Attorney-Client
                                                                                                                           concerning communication with Mr. Loomis
                                                                                                                           Email chain seeking and providing legal advice
461     INTX140404     1/7/2009     John Scanlon          Chris Cwalina                                                                                                     Attorney-Client
                                                                                                                           concerning email account
                                                                                                                           Email seeking legal advice concerning email
462     INTX141099     1/7/2009     John Scanlon          Chris Cwalina                                                                                                     Attorney-Client
                                                                                                                           account
                                                                                                                           Email prepared at the request of counsel
463                    1/21/2009    Joetta Kilby          Madalyn Behneman                  Tracy Ward                                                                      Work Product
                                                                                                                           concerning NEI investigation




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Entry
           Bates No.        Date                  From                    To                         Copied To                            Subject                                Privilege
 No.
                                                                                                                     Attached chart regarding NEI investigation
464                    1/5/2009                                                                                                                                           Work Product
                                                                                                                     prepared at the request of counsel
                                                                                                                     Email prepared at the request of counsel
                                                                                                                                                                          Attorney-Client; Work
465                    1/21/2009   Joetta Kilby          Madalyn Behneman                 Tracy Ward                 concerning attached summary regarding NEI
                                                                                                                                                                          Product
                                                                                                                     investigation
                                                                                                                     Attached summary prepared at the request of          Attorney-Client; Work
466
                                                                                                                     counsel concerning NEI investigation                 Product
                                                                                                                     Email prepared at the request of counsel
                                                                                                                                                                          Attorney-Client; Work
467                    1/22/2009   Madalyn Behneman      John Scanlon; Chris Cwalina      Joetta Kilby; Tracy Ward   concerning attached summary regarding NEI
                                                                                                                                                                          Product
                                                                                                                     investigation
                                                                                                                     Attached summary prepared at the request of          Attorney-Client; Work
468                    1/5/2009
                                                                                                                     counsel concerning NEI investigation                 Product
                                                                                                                     Email chain prepared at the request of counsel
                                                                                                                                                                          Attorney-Client; Work
469                    1/22/2009   Madalyn Behneman      John Scanlon; Chris Cwalina      Joetta Kilby; Tracy Ward   concerning attached summary regarding NEI
                                                                                                                                                                          Product
                                                                                                                     investigation
                                                                                                                     Attached summary prepared at the request of          Attorney-Client; Work
470
                                                                                                                     counsel concerning NEI investigation                 Product
                                                                                                                     Email chain prepared at the request of counsel
                                                                                                                                                                          Attorney-Client; Work
471                    1/22/2009   Tracy Ward            Joetta Kilby; Madalyn Behneman                              concerning attached summary regarding NEI
                                                                                                                                                                          Product
                                                                                                                     investigation
                                                                                                                     Attached summary prepared at the request of          Attorney-Client; Work
472
                                                                                                                     counsel concerning NEI investigation                 Product
                                                                                                                     Email chain seeking legal advice concerning return   Attorney-Client; Work
473                    1/29/2009   Jason Wood            Chris Cwalina
                                                                                                                     of property to Joe Loomis                            Product
                                                                                                                     Email chain seeking and providing legal advice       Attorney-Client; Work
474                    1/29/2009   Jason Wood            Chris Cwalina
                                                                                                                     concerning return of property to Mr. Loomis          Product
                                                                                                                     Email providing legal advice concerning attached
475     INTX136216     1/29/2009   Wendy Weinberger      Danielle DiDio                   John Scanlon                                                                    Attorney-Client
                                                                                                                     Eli Lilly change order and statement of work
476     INTX136220     1/29/2009                                                                                     Attached change order and statement of work          Attorney-Client
                                                                                                                     Email chain with expert prepared at the request of
477                    2/19/2009   Jay Spinella          Joetta Kilby                     Madalyn Behneman                                                                Work Product
                                                                                                                     counsel regarding Loomis investigation
                                                                                                                     Email chain prepared at the request of counsel
478                    2/26/2009   Madalyn Behneman      Chris Cwalina                                               concerning attached memorandum regarding             Work Product
                                                                                                                     Loomis investigation
                                                                                                                     Attached memorandum prepared at the request of
479                    2/26/2009                                                                                                                                          Work Product
                                                                                                                     counsel
                                                                                                                     Email with expert at the request of counsel
480                    2/27/2009   Joetta Kilby          Jay Spinella                     Madalyn Behneman           concerning attached NEI investigation                Work Product
                                                                                                                     memorandum



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Entry
         Bates No.        Date               From                    To                          Copied To                        Subject                              Privilege
 No.
                                                                                                             Attached memorandum prepared at the request of
481                  2/27/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Email chain with expert at the request of counsel
482                  2/27/2009   Jay Spinella        Joetta Kilby; Madalyn Behneman                          concerning attached memorandum regarding            Work Product
                                                                                                             Loomis investigation
                                                                                                             Attached memorandum prepared at the request of
483                  2/27/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Email chain prepared at the request of counsel
484                  2/27/2009   Madalyn Behneman    Chris Cwalina                                           concerning attached memorandum regarding            Work Product
                                                                                                             Loomis investigation
                                                                                                             Attached memorandum prepared at the request of
485                  2/27/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Email from expert prepared at the request of
486                  3/9/2009    Jay Spinella        Madalyn Behneman                 Joetta Kilby           counsel concerning attached memoranda and           Work Product
                                                                                                             charts regarding Loomis investigation
487                  3/9/2009                                                                                Attached chart prepared at the request of counsel   Work Product
                                                                                                             Attached memorandum prepared at the request of
488                  3/9/2009                                                                                                                                    Work Product
                                                                                                             counsel
                                                                                                             Attached memorandum prepared at the request of
489                  3/9/2009                                                                                                                                    Work Product
                                                                                                             counsel
                                                                                                             Attached memorandum prepared at the request of
490                  3/9/2009                                                                                                                                    Work Product
                                                                                                             counsel
                                                                                                             Email from expert prepared at the request of
491                  3/12/2009   Jay Spinella        Madalyn Behneman                                        counsel concerning attached memorandum              Work Product
                                                                                                             regarding Loomis investigation
                                                                                                             Attached memorandum prepared at the request of
492                  3/12/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Attached memorandum prepared at the request of
493                  3/12/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Email chain prepared at the request of counsel
494                  3/17/2009   Madalyn Behneman    Chris Cwalina                                           concerning attached memorandum regarding            Work Product
                                                                                                             Loomis investigation
                                                                                                             Attached memorandum prepared at the request of
495                  2/26/2009                                                                                                                                   Work Product
                                                                                                             counsel
                                                                                                             Email chain prepared at the request of counsel
496                  3/17/2009   Madalyn Behneman    Chris Cwalina                                           concerning attached memorandum regarding            Work Product
                                                                                                             Loomis investigation
                                                                                                             Attached memorandum prepared at the request of
497                  2/27/2009                                                                                                                                   Work Product
                                                                                                             counsel



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Entry
         Bates No.        Date               From                    To                            Copied To                                   Subject                              Privilege
 No.
                                                                                                                         Email chain prepared at the request of counsel
498                  3/17/2009   Madalyn Behneman    Chris Cwalina                                                       concerning attached chart and memoranda             Work Product
                                                                                                                         regarding Loomis investigation
499                  3/9/2009                                                                                            Attached chart prepared at the request of counsel   Work Product
                                                                                                                         Attached memorandum prepared at the request of
500                  3/9/2009                                                                                                                                                Work Product
                                                                                                                         counsel
                                                                                                                         Attached memorandum prepared at the request of
501                  3/9/2009                                                                                                                                                Work Product
                                                                                                                         counsel
                                                                                                                         Attached memorandum prepared at the request of
502                  3/9/2009                                                                                                                                                Work Product
                                                                                                                         counsel
                                                                                                                         Email chain prepared at the request of counsel      Attorney-Client; Work
503                  3/23/2009   Jonathan Slaton     John Scanlon
                                                                                                                         concerning the collection of documents              Product
                                                                                                                         Email chain seeking and providing legal advice
504                  4/21/2009   John Scanlon        Wendy Weinberger                                                                                                        Attorney-Client
                                                                                                                         concerning legal review of client contracts
                                                                                                                         Email seeking legal advice concerning Sony
505                  4/22/2009   Jason Wood          Kevin Lefton                                                                                                            Attorney-Client
                                                                                                                         agreements
                                                                                                                         Email chain seeking and providing legal advice
506                  4/23/2009   Jason Wood          Kevin Lefton                                                                                                            Attorney-Client
                                                                                                                         concerning Sony agreements
                                                                                                                         Email providing and relaying legal advice           Attorney-Client; Work
507                  4/24/2009   Neal Dittersdorf    John Scanlon
                                                                                                                         concerning NEI investigation                        Product
                                                                                                                         Legal hold memorandum concerning Loomis             Attorney-Client; Work
508                  4/30/2009   Chris Cwalina
                                                                                                                         litigation                                          Product
                                                                                                                         Legal hold memorandum concerning Loomis             Attorney-Client; Work
509                  4/30/2009   Chris Cwalina       Custodians of Records
                                                                                                                         litigation                                          Product


                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                        Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                        Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                        Frauenheim; Melba Amissi;        Email concerning legal hold in connection with      Attorney-Client; Work
510                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                        Tammie Ettner; Michelle J.       Loomis litigation                                   Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                        Dickinson; 'Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                        Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis




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Entry
         Bates No.        Date               From                  To                           Copied To                        Subject                           Privilege
 No.
                                                                                                            Legal hold memorandum concerning Loomis          Attorney-Client; Work
511                  4/30/2009   Chris Cwalina       Custodians of Records
                                                                                                            litigation                                       Product
                                                                                                            Legal hold memorandum concerning Loomis          Attorney-Client; Work
512                  4/30/2009   Chris Cwalina       Custodians of Records
                                                                                                            litigation                                       Product


                                                     Chase Riggins; Stuart Peele;
                                                     Kristina Gust; Johnny Tedesco;
                                                     Andrew Matchett; Gary
                                                     Rosenberg; Barbara Davis; Sam
                                                     Parham; Scott Bevington;
                                                     Margaret Tarrosa; Daniel C.                            Email concerning legal hold in connection with   Attorney-Client; Work
513                  4/30/2009   Chris Soyars                                         Chris Cwalina
                                                     Henning; Chris Rock; Paul                              Loomis litigation                                Product
                                                     Alvarez; Gregory Gullett; Martin
                                                     Brabham; Mickey Durden; Bill
                                                     Martino; Shawn Valliere;
                                                     Krzysztof Sadowski; Christopher
                                                     Selvaraj


                                                                                                                                                             Attorney-Client; Work
514                  4/30/2009   Chris Cwalina       Custodians of Records                                  Attached legal hold memorandum
                                                                                                                                                             Product
                                                     Carlos Chavez; Karl Young;
                                                     Kevin Jones; Amy Worden;
                                                     Anthony Pearson; Berdina
                                                     Facko; Gary Trapp; Lorenzo
                                                     Rodriguez; Marcos Munoz; Miles                         Email concerning legal hold in connection with   Attorney-Client; Work
515                  4/30/2009   Jason Wood
                                                     Van Zanten; Robert Garcia;                             Loomis litigation                                Product
                                                     Travis Hudson; Victoria DeCocq;
                                                     William Johnson; Momilani
                                                     Kauakahi; Danielle DiDio;
                                                     Rebecca Krause; Stuart Bennett
                                                                                                                                                             Attorney-Client; Work
516                                                                                                         Attached legal hold memorandum
                                                                                                                                                             Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                            Privilege
 No.

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;         Email concerning legal hold in connection with    Attorney-Client; Work
517                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner LGL; Michelle J. Loomis litigation                                    Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Krauss, Joseph G;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                         Marshall, Lynda K.; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                             Attorney-Client; Work
518                                                                                                                        Attached legal hold memorandum
                                                                                                                                                                             Product

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with     Attorney-Client; Work
519                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                  Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                             Attorney-Client; Work
520                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                             Product
                                                     Brien Risher; Joetta Kilby; Tracy                                     Email chain providing and relaying legal advice
                                                                                                                                                                             Attorney-Client; Work
521                  4/30/2009   Madalyn Behneman    Ward; Rosanna Mateo; Brenda                                           concerning legal hold in connection with Loomis
                                                                                                                                                                             Product
                                                     Little                                                                litigation
                                                                                                                                                                             Attorney-Client; Work
522                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                             Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                          Privilege
 No.

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with   Attorney-Client; Work
523                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                Product
                                                     Tsantes; 'Stuart Bennett'; 'Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                     Wood'; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                           Attorney-Client; Work
524                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                           Product

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with   Attorney-Client; Work
525                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                           Attorney-Client; Work
526                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                           Product




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Entry
         Bates No.        Date               From                  To                              Copied To                                   Subject                          Privilege
 No.

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                        Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                        Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                        Frauenheim; Melba Amissi;        Email concerning legal hold in connection with   Attorney-Client; Work
527                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                        Tammie Ettner; Michelle J.       Loomis litigation                                Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                        Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                        Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                          Attorney-Client; Work
528                  4/30/2009   Chris Cwalina       Custodians of Records                                               Attached legal hold memorandum
                                                                                                                                                                          Product

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                        Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                        Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                        Frauenheim; Melba Amissi;        Email concerning legal hold in connection with   Attorney-Client; Work
529                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                        Tammie Ettner; Michelle J.       Loomis litigation                                Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                        Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                        Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                          Attorney-Client; Work
530                  4/30/2009   Chris Cwalina       Custodians of Records                                               Attached legal hold memorandum
                                                                                                                                                                          Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                           Privilege
 No.

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with    Attorney-Client; Work
531                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                 Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                            Attorney-Client; Work
532                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Michael Stanfield; John Scanlon;
                                                     Chris Shenefelt; Jonathan
                                                     Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                     Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                     Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with    Attorney-Client; Work
533                  4/30/2009   Chris Cwalina       Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                 Product
                                                     Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                     Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                     Miller; Michelle Tutt; Daniela
                                                     Gleason; Danielle DiDio; Barbara
                                                     Davis

                                                                                                                                                                            Attorney-Client; Work
534                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                            Product
                                                     Brien Risher; Joetta Kilby; Tracy
                                                                                                                          Email chain concerning legal hold in connection   Attorney-Client; Work
535                  4/30/2009   Madalyn Behneman    Ward; Rosanna Mateo; Brenda
                                                                                                                          with Loomis litigation                            Product
                                                     Little
                                                                                                                                                                            Attorney-Client; Work
536                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                            Product
                                                     Brien Risher; Joetta Kilby; Tracy
                                                                                                                          Email chain concerning legal hold in connection   Attorney-Client; Work
537                  4/30/2009   Madalyn Behneman    Ward; Rosanna Mateo; Brenda
                                                                                                                          with Loomis litigation                            Product
                                                     Little
                                                                                                                                                                            Attorney-Client; Work
538                  4/30/2009   Chris Cwalina       Custodians of Records                                                Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
           Bates No.        Date             From                     To                            Copied To                                   Subject                            Privilege
 No.
                                                      Michael Stanfield; John Scanlon;
                                                      Chris Shenefelt; Jonathan
                                                      Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                      Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                      Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with    Attorney-Client; Work
539                    4/30/2009   Chris Cwalina      Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                 Product
                                                      Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                      Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                      Miller; Michelle Tutt; Daniela
                                                      Gleason; Danielle DiDio; Barbara
                                                      Davis

                                                                                                                                                                            Attorney-Client; Work
540                    4/30/2009   Chris Cwalina      Custodians of Records                                               Attached legal hold memorandum
                                                                                                                                                                            Product

                                                      Michael Stanfield; John Scanlon;
                                                      Chris Shenefelt; Jonathan
                                                      Slaton; Pete Enghauser; Tim
                                                                                         Neal Dittersdorf; Wendy
                                                      Browne; Larry Crowson; Chris
                                                                                         Weinberger; Kevin Lefton; Susan
                                                      Soyars; Madalyn Behneman;
                                                                                         Frauenheim; Melba Amissi;        Email concerning legal hold in connection with    Attorney-Client; Work
541                    4/30/2009   Chris Cwalina      Tracy Ward; Joetta Kilby; Chip
                                                                                         Tammie Ettner; Michelle J.       Loomis litigation                                 Product
                                                      Tsantes; Stuart Bennett; Jason
                                                                                         Dickinson; Joseph G. Krauss;
                                                      Wood; Steve Izurieta; Eric A.
                                                                                         Lynda K. Marshall; Chris Cwalina
                                                      Miller; Michelle Tutt; Daniela
                                                      Gleason; Danielle DiDio; Barbara
                                                      Davis

                                                                                                                                                                            Attorney-Client; Work
542                    4/30/2009   Chris Cwalina      Custodians of Records                                               Attached legal hold memorandum
                                                                                                                                                                            Product
                                                                                                                          Email chain seeking and providing legal advice
                                                                                                                                                                            Attorney-Client; Work
543                    5/1/2009    John Scanlon       Chris Cwalina                                                       concerning legal hold in connection with Loomis
                                                                                                                                                                            Product
                                                                                                                          litigation
                                                                                                                          Email seeking legal advice concerning attached
544     INTX061978     5/4/2009    Madalyn Behneman   Chris Cwalina                      Tracy Ward                                                                         Attorney-Client
                                                                                                                          draft Biegel and Waller memo
                                                                                                                          Email seeking legal advice concerning attached
545     INTX062522     5/4/2009    Madalyn Behneman   Chris Cwalina                      Tracy Ward                                                                         Attorney-Client
                                                                                                                          draft Biegel and Waller memo
                                                                                                                          Email chain providing and relaying legal advice
                                                      Brien Risher; Brenda Little;                                                                                          Attorney-Client; Work
546                    5/4/2009    Madalyn Behneman                                                                       concerning legal hold in connection with Loomis
                                                      Joetta Kilby; Tracy Ward                                                                                              Product
                                                                                                                          litigation




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Entry
         Bates No.        Date               From                       To                        Copied To                                   Subject                                Privilege
 No.
                                                                                                                                                                              Attorney-Client; Work
547                  4/30/2009   Chris Cwalina          Custodians of Records                                           Attached legal hold memorandum
                                                                                                                                                                              Product
                                                        Brien Risher; Brenda Little;                                    Email chain concerning legal hold in connection       Attorney-Client; Work
548                  5/4/2009    Madalyn Behneman
                                                        Joetta Kilby; Tracy Ward                                        with Loomis litigation                                Product
                                                                                                                                                                              Attorney-Client; Work
549                  4/30/2009   Chris Cwalina          Custodians of Records                                           Attached legal hold memorandum
                                                                                                                                                                              Product
                                                        Brien Risher; Brenda Little;                                    Email chain concerning legal hold in connection       Attorney-Client; Work
550                  5/5/2009    Madalyn Behneman
                                                        Joetta Kilby; Tracy Ward                                        with Loomis litigation                                Product
                                                                                                                                                                              Attorney-Client; Work
551                  4/30/2009   Chris Cwalina          Custodians of Records                                           Attached legal hold memorandum
                                                                                                                                                                              Product
                                                                                       Madalyn Behneman; Michelle J.     Email chain seeking and providing legal advice
552                  5/12/2009   Chris Cwalina          James P. Dvorak, Jr.                                                                                                  Attorney-Client
                                                                                       Dickinson                         concerning Joe Loomis' earnout
                                                                                       Madalyn Behneman; Michelle J.     Email chain seeking and providing legal advice
553                  5/12/2009   James P. Dvorak, Jr.   Chris Cwalina                                                                                                         Attorney-Client
                                                                                       Dickinson                         concerning Joe Loomis' earnout
                                                                                                                         Email chain seeking, providing, and relaying legal
554                  5/12/2009   Chris Cwalina          Madalyn Behneman                                                                                                      Attorney-Client
                                                                                                                         advice concerning Joe Loomis' earnout
                                                                                                                         Email chain seeking, providing, and relaying legal
555                  5/12/2009   Chris Cwalina          Madalyn Behneman                                                                                                      Attorney-Client
                                                                                                                         advice concerning Joe Loomis' earnout
                                                                                                                         Email chain seeking, providing, and relaying legal
556                  5/12/2009   Chris Cwalina          Madalyn Behneman               Brien Risher                                                                           Attorney-Client
                                                                                                                         advice concerning Joe Loomis' earnout
                                                                                                                         Email providing legal advice and seeking
                                                                                       James P. Dvorak, Jr.; Michelle J.                                                      Attorney-Client; Work
557                  5/12/2009   Chris Cwalina          Madalyn Behneman                                                 information to provide additional legal advice
                                                                                       Dickinson                                                                              Product
                                                                                                                         concerning Joe Loomis' earnout
                                                                                       Madalyn Behneman; Michelle J. Email chain seeking and providing legal advice           Attorney-Client; Work
558                  5/12/2009   James P. Dvorak, Jr.   Chris Cwalina
                                                                                       Dickinson                         concerning Joe Loomis' earnout                       Product
                                                                                                                         Email chain seeking, providing, and relaying legal   Attorney-Client; Work
559                  5/12/2009   Madalyn Behneman       Brien Risher                   Jimmy Stewart
                                                                                                                         advice concerning Joe Loomis' earnout                Product
                                                                                                                         Email chain seeking, providing, and relaying legal   Attorney-Client; Work
560                  5/12/2009   Madalyn Behneman       Chris Cwalina                  Brien Risher
                                                                                                                         advice concerning Joe Loomis' earnout                Product
                                                                                                                         Email chain seeking, providing, and relaying legal   Attorney-Client; Work
561                  5/12/2009   Madalyn Behneman       Chris Cwalina
                                                                                                                         advice concerning Joe Loomis' earnout                Product
                                                                                       James P. Dvorak, Jr.; Michelle J. Email seeking and providing legal advice
562                  5/12/2009   Chris Cwalina          Madalyn Behneman                                                                                                      Attorney-Client
                                                                                       Dickinson                         concerning Joe Loomis' earnout
                                                                                       Madalyn Behneman; Michelle J. Email chain seeking and providing legal advice           Attorney-Client; Work
563                  5/12/2009   James P. Dvorak, Jr.   Chris Cwalina
                                                                                       Dickinson                         concerning Joe Loomis' earnout                       Product
                                                                                                                         Email chain prepared at the request of counsel and
564                  5/12/2009   Madalyn Behneman       Brien Risher                   Jimmy Stewart                     collecting information concerning Joe Loomis'        Attorney-Client
                                                                                                                         earnout
                                                                                                                         Email chain providing and relaying legal advice
565                  5/12/2009   Madalyn Behneman       Chris Cwalina                  Brien Risher                                                                           Attorney-Client
                                                                                                                         concerning Joe Loomis' earnout



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Entry
           Bates No.        Date             From                     To                      Copied To                         Subject                                 Privilege
 No.
                                                                                                           Email chain providing and relaying legal advice
566                    5/12/2009   Madalyn Behneman   Chris Cwalina                                                                                              Attorney-Client
                                                                                                           concerning Joe Loomis' earnout
                                                                                                           Email chain prepared at the request of counsel
                                                      Madalyn Behneman; Michelle                                                                                 Attorney-Client; Work
567     INTX053338     5/13/2009   Chris Cwalina                                                           seeking and providing legal advice concerning BIG
                                                      Dickinson                                                                                                  Product
                                                                                                           tax
                                                      Madalyn Behneman; Brien                              Email chain providing and relaying legal advice       Attorney-Client; Work
568                    5/14/2009   Chris Cwalina                                   Michelle J. Dickinson
                                                      Risher                                               concerning Joe Loomis' earnout                        Product
                                                      Madalyn Behneman; Brien                              Email chain providing and relaying legal advice       Attorney-Client; Work
569                    5/14/2009   Chris Cwalina                                   Michelle J. Dickinson
                                                      Risher                                               concerning Joe Loomis' earnout                        Product
                                                                                                           Email chain providing legal advice concerning legal   Attorney-Client; Work
570                    5/14/2009   Madalyn Behneman   Michelle J. Dickinson        Chris Cwalina
                                                                                                           hold in connection with Loomis litigation             Product
                                                                                                                                                                 Attorney-Client; Work
571                    4/30/2009   Chris Cwalina      Custodians of Records                                Attached legal hold memorandum
                                                                                                                                                                 Product
                                                                                                           Email chain seeking legal advice concerning NEI
                                                                                                                                                                 Attorney-Client; Work
572                    5/14/2009   Madalyn Behneman   Michelle J. Dickinson                                investigation memorandum prepared at the request
                                                                                                                                                                 Product
                                                                                                           of counsel
                                                                                                           Attached memorandum prepared at the request of
573                    9/3/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Email chain seeking legal advice concerning NEI
                                                                                                                                                                 Attorney-Client; Work
574                    5/14/2009   Madalyn Behneman   Michelle J. Dickinson                                investigation memorandum prepared by expert at
                                                                                                                                                                 Product
                                                                                                           the request of counsel
                                                                                                           Attached memorandum prepared at the request of
575                    9/3/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Attached memorandum prepared at the request of
576                    9/3/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Email chain prepared at the request of counsel
577                    5/14/2009   Madalyn Behneman   Michelle J. Dickinson                                concerning attached chart and memoranda               Work Product
                                                                                                           regarding Loomis investigation
578                    3/9/2009                                                                            Attached chart prepared at the request of counsel     Work Product
                                                                                                           Attached memorandum prepared at the request of
579                    3/9/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Attached memorandum prepared at the request of
580                    3/9/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Attached memorandum prepared at the request of
581                    3/9/2009                                                                                                                                  Work Product
                                                                                                           counsel
                                                                                                           Email chain prepared at the request of counsel
582                    5/14/2009   Madalyn Behneman   Michelle J. Dickinson                                concerning attached memorandum regarding              Work Product
                                                                                                           Loomis investigation




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Entry
           Bates No.        Date                From                   To                          Copied To                                 Subject                                Privilege
 No.
                                                                                                                       Attached memorandum prepared at the request of
583                    3/12/2009                                                                                                                                             Work Product
                                                                                                                       counsel
                                                                                                                       Attached memorandum prepared at the request of
584                    3/12/2009                                                                                                                                             Work Product
                                                                                                                       counsel
                                                                                                                       Email and attached valuation prepared at the          Attorney-Client; Work
585                    5/14/2009   John Scanlon        Chris Cwalina
                                                                                                                       request of counsel                                    Product
                                                                                                                       Attached valuation prepared at the request of         Attorney-Client; Work
586                    5/11/2009
                                                                                                                       counsel                                               Product
                                                                                                                       Email prepared at the request of counsel collecting
587                    5/15/2009   Brien Risher        Chris Cwalina                    Madalyn Behneman                                                                   Attorney-Client
                                                                                                                       information concerning Joe Loomis' earnout
                                                                                                                       Email chain prepared at the request of counsel
588                    5/19/2009                       Chip Tsantes                                                                                                          Work Product
                                                                                                                       concerning due diligence
                                                                                                                       Email chain prepared at the request of counsel
589                    5/19/2009                       Chip Tsantes                                                                                                          Work Product
                                                                                                                       concerning due diligence
                                                                                                                       Email chain seeking and providing legal advice
590                    5/19/2009   Jason Wood          Kevin Lefton                                                                                                          Attorney-Client
                                                                                                                       concerning Sony agreements
                                                                                                                       Email seeking legal advice concerning Sony
591     INTX138262     5/21/2009   Stuart Bennett      Wendy Weinberger                 John Scanlon; Danielle DiDio                                                         Attorney-Client
                                                                                                                       Statement of Work
                                                                                                                       Email chain seeking and providing legal advice        Attorney-Client; Work
592                    5/26/2009   John Scanlon        Chris Cwalina                    Neal Dittersdorf
                                                                                                                       concerning draft complaint                            Product
                                                                                                                       Email prepared at the request of counsel
593     INTX141110     5/26/2009   John Scanlon        Chris Cwalina                                                                                                         Attorney-Client
                                                                                                                       concerning BIG tax
                                                                                                                       Email chain seeking and providing legal advice        Attorney-Client; Work
594                    5/26/2009   John Scanlon        Chris Cwalina                    Neal Dittersdorf
                                                                                                                       concerning draft complaint                            Product
                                                                                                                                                                             Attorney-Client; Work
595                    5/26/2009   Chris Cwalina       John Scanlon; Neal Dittersdorf                                  Email chain concerning attached draft complaint
                                                                                                                                                                             Product
                                                                                                                                                                             Attorney-Client; Work
596                    5/26/2009                                                                                       Attached draft complaint
                                                                                                                                                                             Product
                                                                                                                       Email chain providing and relaying legal advice       Attorney-Client; Work
597                    5/26/2009   Chris Cwalina       John Scanlon; Neal Dittersdorf
                                                                                                                       concerning attached draft complaint                   Product
                                                                                                                                                                             Attorney-Client; Work
598                    5/26/2009                                                                                       Attached draft complaint
                                                                                                                                                                             Product
                                                                                                                       Email chain providing legal advice concerning
                                                                                                                                                                             Attorney-Client; Work
599                    5/27/2009   Jason Wood          Michelle J. Dickinson                                           cancelled customers and summary of information
                                                                                                                                                                             Product
                                                                                                                       at the request of counsel
                                                                                                                       Email chain prepared at the request of counsel        Attorney-Client; Work
600                    5/27/2009   Tracy Ward          Madalyn Behneman
                                                                                                                       collecting information concerning due diligence       Product
                                                                                                                       Email prepared at the request of counsel collecting   Attorney-Client; Work
601     INTX053343     5/27/2009   Madalyn Behneman    Michelle J. Dickinson            Chris Cwalina
                                                                                                                       information concerning BIG tax                        Product



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Entry
           Bates No.        Date              From                    To                               Copied To                                    Subject                                 Privilege
 No.
                                                                                                                               Email chain prepared at the request of counsel
                                                                                                                                                                                     Attorney-Client; Work
602                    5/27/2009   Madalyn Behneman    Michelle J. Dickinson                Chris Cwalina                      collecting and relaying information concerning due
                                                                                                                                                                                     Product
                                                                                                                               diligence
                                                                                                                               Email chain prepared at the request of counsel
603                    5/27/2009   Madalyn Behneman    Tracy Ward                                                                                                                    Work Product
                                                                                                                               collecting information regarding due diligence
                                                                                                                               Email prepared at the request of counsel and          Attorney-Client; Work
604     INTX054144     5/27/2009   Madalyn Behneman    Michelle J. Dickinson                Chris Cwalina
                                                                                                                               collecting information concerning tax issues          Product
                                                                                                                               Email chain prepared at the request of counsel
                                                                                                                                                                                     Attorney-Client; Work
605                    5/27/2009   Madalyn Behneman    Michelle J. Dickinson                Chris Cwalina                      collecting information concerning due diligence and
                                                                                                                                                                                     Product
                                                                                                                               relaying that information to counsel
                                                       Bill Martino; Chris Rock; Chris
                                                       Soyars; Christopher Selvaraj;
                                                       Daniel C. Henning; Gregory
                                                       Gullett; Krzysztof Sadowski;                                            Email chain providing and relaying legal advice       Attorney-Client; Work
606                    5/28/2009   Chris Soyars                                             Jonathan Slaton; Jason Wood
                                                       Margaret Tarrosa; Martin                                                concerning suspension of Joe Loomis                   Product
                                                       Brabham; Mickey Durden; Paul
                                                       Alvarez; Sam Parham; Scott
                                                       Bevington
                                                                                            Chris Cwalina; Neal Dittersdorf;   Email providing legal advice concerning status of
607                    6/2/2009    Wendy Weinberger    John Scanlon                                                                                                                  Attorney-Client
                                                                                            Kevin Lefton                       NEI client agreements
                                                                                                                               Email chain providing and relaying legal advice
608                    6/9/2009    Neal Dittersdorf    John Scanlon                                                                                                                  Attorney-Client
                                                                                                                               concerning draft Sony statement of work
609                    6/9/2009                                                                                                Attached draft statement of work                      Attorney-Client
                                                                                                                               Email prepared at the request of counsel compiling    Attorney-Client; Work
610                    6/11/2009   Madalyn Behneman    Michelle J. Dickinson
                                                                                                                               information concerning due diligence                  Product

                                                       Chris Cwalina; Michael Stanfield;
                                                       John Scanlon; Chris Shenefelt;
                                                       Jonathan Slaton; Pete
                                                                                            Neal Dittersdorf; Wendy
                                                       Enghauser; Tim Browne; Larry
                                                                                            Weinberger; Kevin Lefton; Susan
                                                       Crowson; Chris Soyars; Madalyn
                                                                                            Frauenheim; Melba Amissi;       Email concerning legal hold in connection with           Attorney-Client; Work
611                    6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                            Tammie Ettner; Michelle J.      Loomis litigation                                        Product
                                                       Kilby; Chip Tsantes; Stuart
                                                                                            Dickinson; Joseph G. Krauss;
                                                       Bennett; Jason Wood; Steve
                                                                                            Lynda K. Marshall
                                                       Izurieta; Eric A. Miller; Michelle
                                                       Tutt; Daniela Gleason; Danielle
                                                       DiDio; Barbara Davis

                                                                                                                                                                                     Attorney-Client; Work
612                    4/30/2009   Chris Cwalina       Custodians of Records                                                   Attached legal hold memorandum
                                                                                                                                                                                     Product



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Entry
         Bates No.        Date               From                   To                               Copied To                                  Subject                           Privilege
 No.

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
613                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
614                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email concerning legal hold in connection with    Attorney-Client; Work
615                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      Loomis litigation                                 Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
616                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                           Privilege
 No.

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
617                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
618                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
619                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
620                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                           Privilege
 No.

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
621                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; 'Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett'; 'Jason Wood'; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
622                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
623                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                            Attorney-Client; Work
624                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                    Subject                             Privilege
 No.
                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection      Attorney-Client; Work
625                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                               Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis
                                                                                                                                                                               Attorney-Client; Work
626                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                               Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection      Attorney-Client; Work
627                  6/15/2009   Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                               Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio; Barbara Davis

                                                                                                                                                                               Attorney-Client; Work
628                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                               Product
                                                     Chris Cwalina; Michelle J.                                            Email prepared at the request of counsel and        Attorney-Client; Work
629                  6/19/2009   John Scanlon
                                                     Dickinson                                                             seeking legal advice concerning due diligence       Product
                                                     Neal Dittersdorf; John Scanlon;                                       Email chain providing and relaying legal advice     Attorney-Client; Work
630                  7/16/2009   Chris Cwalina
                                                     Michael Stanfield                                                     concerning opposition to motion to dismiss          Product
                                                     Neal Dittersdorf; John Scanlon;                                       Email chain providing and relaying legal advice     Attorney-Client; Work
631                  7/16/2009   Chris Cwalina
                                                     Michael Stanfield                                                     concerning opposition to motion to dismiss          Product
                                                                                                                           Email chain providing and relaying legal advice
                                                                                                                                                                               Attorney-Client; Work
632                  7/16/2009   Chris Cwalina       John Scanlon                                                          concerning attached draft opposition to motion to
                                                                                                                                                                               Product
                                                                                                                           dismiss
                                                                                                                                                                               Attorney-Client; Work
633                  7/15/2009                                                                                             Attached draft opposition to motion to dismiss
                                                                                                                                                                               Product



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Entry
         Bates No.        Date               From                        To                      Copied To                         Subject                              Privilege
 No.
                                                                                                             Email chain seeking and providing legal advice
                                                                                                                                                                  Attorney-Client; Work
634                  7/16/2009   Chris Cwalina           John Scanlon                                        concerning attached draft opposition to motion to
                                                                                                                                                                  Product
                                                                                                             dismiss
                                                                                                                                                                  Attorney-Client; Work
635                  7/15/2009                                                                               Attached draft opposition to motion to dismiss
                                                                                                                                                                  Product
                                                                                                             Email chain seeking and providing legal advice       Attorney-Client; Work
636                  7/16/2009   John Scanlon            Chris Cwalina
                                                                                                             concerning opposition to motion to dismiss           Product
                                                                                                                                                                  Attorney-Client; Work
637                  7/16/2009                                                                               Attached draft opposition to motion to dismiss
                                                                                                                                                                  Product
                                                                                                             Email chain prepared at the request of counsel and
638                  7/17/2009   John Scanlon            Neal Dittersdorf                                                                                        Attorney-Client
                                                                                                             seeking legal advice concerning Eli Lilly agreement

                                                                                                             Email chain providing and relaying legal advice      Attorney-Client; Work
639                  7/20/2009   Chris Cwalina           John Scanlon
                                                                                                             concerning counterclaims asserted by Joe Loomis      Product
                                                                                                             Email chain providing and relaying legal advice      Attorney-Client; Work
640                  7/20/2009   Chris Cwalina           John Scanlon
                                                                                                             concerning motion to dismiss                         Product
                                                                                                             Email providing legal advice concerning Joe          Attorney-Client; Work
641                  7/21/2009   Chris Cwalina           John Scanlon                 Neal Dittersdorf
                                                                                                             Loomis' reply in support of his motion to dismiss    Product
                                                                                                             Email providing legal advice concerning reply in     Attorney-Client; Work
642                  7/21/2009   Chris Cwalina           John Scanlon                 Neal Dittersdorf
                                                                                                             support of motion of motion to dismiss               Product
                                                                                                             Email chain providing and relaying legal advice      Attorney-Client; Work
643                  7/24/2009   Chris Cwalina           Madalyn Behneman
                                                                                                             concerning counterclaims asserted by Joe Loomis      Product

                                                                                                             Email chain providing and relaying legal advice      Attorney-Client; Work
644                  7/24/2009   Chris Cwalina           Madalyn Behneman
                                                                                                             concerning counterclaims asserted by Joe Loomis      Product

                                                         Joetta Kilby; John Scanlon; Tim
                                                                                                             Email providing legal advice concerning collection   Attorney-Client; Work
645                  7/29/2009   Michelle J. Dickinson   Rohrbaugh; Madalyn Behneman; Chris Cwalina
                                                                                                             and production of documents during discovery         Product
                                                         Tracy Ward; Eric A. Miller

                                                         Joetta Kilby; John Scanlon; Tim                     Email providing legal advice concerning the
                                                                                                                                                                  Attorney-Client; Work
646                  7/29/2009   Michelle J. Dickinson   Rohrbaugh; Madalyn Behneman; Chris Cwalina          collection and production of documents during
                                                                                                                                                                  Product
                                                         Tracy Ward; Eric A. Miller                          discovery
                                                                                                             Email chain seeking and providing legal advice
                                                                                                                                                               Attorney-Client; Work
647                  7/30/2009   Michelle J. Dickinson   John Scanlon                 Chris Cwalina          concerning collection and production of documents
                                                                                                                                                               Product
                                                                                                             during discovery




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Entry
         Bates No.        Date               From                   To                               Copied To                                  Subject                               Privilege
 No.
                                                                                                                           Email chain prepared at the request of counsel and
                                                                                                                                                                                Attorney-Client; Work
648                  7/30/2009   John Scanlon        Michelle J. Dickinson                Chris Cwalina                    providing legal advice concerning the collection and
                                                                                                                                                                                Product
                                                                                                                           production of documents
                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email concerning legal hold in connection with       Attorney-Client; Work
649                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner LGL; Michelle J. Loomis litigation                                     Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Linda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio
                                                                                                                                                                               Attorney-Client; Work
650                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                               Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection      Attorney-Client; Work
651                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                               Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio

                                                                                                                                                                               Attorney-Client; Work
652                  7/29/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                               Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                           Privilege
 No.
                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
653                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio

                                                                                                                                                                            Attorney-Client; Work
654                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
655                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio

                                                                                                                                                                            Attorney-Client; Work
656                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
         Bates No.        Date               From                   To                              Copied To                                   Subject                           Privilege
 No.

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
657                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio

                                                                                                                                                                            Attorney-Client; Work
658                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product

                                                     Chris Cwalina; Michael Stanfield;
                                                     John Scanlon; Chris Shenefelt;
                                                     Jonathan Slaton; Pete
                                                                                          Neal Dittersdorf; Wendy
                                                     Enghauser; Tim Browne; Larry
                                                                                          Weinberger; Kevin Lefton; Susan
                                                     Crowson; Chris Soyars; Madalyn
                                                                                          Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection   Attorney-Client; Work
659                  8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                          Tammie Ettner; Michelle J.      with Loomis litigation                            Product
                                                     Kilby; Chip Tsantes; Stuart
                                                                                          Dickinson; Joseph G. Krauss;
                                                     Bennett; Jason Wood; Steve
                                                                                          Lynda K. Marshall
                                                     Izurieta; Eric A. Miller; Michelle
                                                     Tutt; Daniela Gleason; Danielle
                                                     DiDio

                                                                                                                                                                            Attorney-Client; Work
660                  4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                            Product




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Entry
           Bates No.        Date                From                   To                              Copied To                                   Subject                               Privilege
 No.

                                                       Chris Cwalina; Michael Stanfield;
                                                       John Scanlon; Chris Shenefelt;
                                                       Jonathan Slaton; Pete
                                                                                            Neal Dittersdorf; Wendy
                                                       Enghauser; Tim Browne; Larry
                                                                                            Weinberger; Kevin Lefton; Susan
                                                       Crowson; Chris Soyars; Madalyn
                                                                                            Frauenheim; Melba Amissi;       Email chain concerning legal hold in connection       Attorney-Client; Work
661                    8/3/2009    Chris Cwalina       Behneman; Tracy Ward; Joetta
                                                                                            Tammie Ettner; Michelle J.      with Loomis litigation                                Product
                                                       Kilby; Chip Tsantes; Stuart
                                                                                            Dickinson; Joseph G. Krauss;
                                                       Bennett; Jason Wood; Steve
                                                                                            Lynda K. Marshall
                                                       Izurieta; Eric A. Miller; Michelle
                                                       Tutt; Daniela Gleason; Danielle
                                                       DiDio

                                                                                                                                                                                  Attorney-Client; Work
662                    4/30/2009   Chris Cwalina       Custodians of Records                                                 Attached legal hold memorandum
                                                                                                                                                                                  Product
                                                       Chip Tsantes; Jonathan Slaton;
                                                                                            Melissa R. Roth; Michelle J.     Email providing legal advice concerning collection   Attorney-Client; Work
663                    8/6/2009                        Steve Izurieta; Tammy Reid
                                                                                            Dickinson                        and production of documents during discovery         Product
                                                       ADM
                                                       Chip Tsantes; Jonathan Slaton;       Melissa R. Roth; Michelle J.     Email providing legal advice concerning collection   Attorney-Client; Work
664                    8/6/2009
                                                       Steve Izurieta; Tammy Reid           Dickinson                        and production of documents during discovery         Product
                                                                                                                             Email chain seeking and providing legal advice
                                                                                                                                                                               Attorney-Client; Work
665                    8/6/2009                        Chip Tsantes                                                          concerning collection and production of documents
                                                                                                                                                                               Product
                                                                                                                             during discovery
666                    8/10/2009   Tracy Ward          Chris Cwalina                        Madalyn Behneman                 Email seeking legal advice concerning tax issues     Attorney-Client
                                                                                            Madalyn Behneman; John           Email chain seeking and providing legal advice
667                    8/10/2009   Chris Cwalina       Tracy Ward                                                                                                                 Attorney-Client
                                                                                            Scanlon                          concerning tax issues
                                                                                                                             Email chain providing legal advice concerning the
                                                                                                                                                                                  Attorney-Client; Work
668                    8/10/2009   Chris Cwalina       Tracy Ward                           Larry Crowson                    collection and production of documents during
                                                                                                                                                                                  Product
                                                                                                                             discovery
                                                                                                                             Email concerning production of documents during      Attorney-Client; Work
669     INTX093839     9/29/2009   Melissa R. Roth     James O'Neill
                                                                                                                             discovery                                            Product
                                                                                                                             Email chain seeking and providing legal advice       Attorney-Client; Work
670     INTX094450     9/29/2009   Melissa R. Roth     James O'Neill
                                                                                                                             concerning CSAV                                      Product
                                                                                                                             Email concerning production of documents during      Attorney-Client; Work
671     INTX094454     9/29/2009   Melissa R. Roth     James O'Neill
                                                                                                                             discovery                                            Product
                                                                                                                             Handwritten notes concerning meeting with Neal
672                    undated     Tracy Ward                                                                                                                                     Attorney-Client
                                                                                                                             Dittersdorf regarding tax issues



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